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                   IN THE UNITED STATES DISTRICT COURT

                FOR THE SOUTHERN DISTRICT OF CALIFORNIA




      UNITED STATES,               :
                                   :
                        Plaintiff :
                                   :
                  vs.              :           NO.   18-cr-4683-GPC
                                   :
      JACOB BYCHAK, et al.,        :
                                   :
                        Defendants :




           VIDEOTAPED TRIAL DEPOSITION OF STEPHEN A. DORN




                             Taken in the Edward N. Cahn U.S.

      Courthouse & Federal Building, Conference Room 3600,

      504 West Hamilton Street, Allentown, Pennsylvania,

      on Wednesday, September 15, 2021, commencing at

      10:34 a.m., before Steven R. Mack, Registered Merit

      Reporter, and Bill Heilman, Videographer.




                                  * * *
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 10                           (The witness was duly sworn.)

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 16                           DIRECT EXAMINATION

 17    BY MS. HEATH:

 18    Q.             Please state your name for the record,

 19    your full name.

 20    A.             Stephen Alan Dorn.

 21    Q.             And do you reside in or around the

 22    Allentown, Pennsylvania, area?

 23    A.             I resi -- yes.

 24    Q.             Are you married?

 25    A.             Yes.
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                                                                            14


  1    Q.             How long?

  2    A.             I can't remember.       It's 15, 16 years,

  3    something like that.

  4    Q.             Any children?

  5    A.             No.

  6    Q.             Are you currently employed?

  7    A.             No.

  8    Q.             And are you retired?

  9    A.             Yes.

 10    Q.             How long have you been retired?

 11    A.             Since 2007.

 12    Q.             And what type of occupation did you have

 13    prior to retiring?

 14    A.             I was a manager of computer networks and

 15    operations for a company called Moore Products

 16    Company since 1975.        And in the year 2000 Siemens

 17    purchased our company, and I worked for Siemens up

 18    until the year 2006 as --

 19    Q.             And what --

 20    A.             -- as a computer -- manager of computer

 21    networks and operations was my title.

 22    Q.             And approximately when did you retire?

 23    A.             The last time I worked was in Janu --

 24    January 2007.

 25    Q.             And are you testifying today in response
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                                                                            15


  1    to a subpoena you received from the Government?

  2    A.             Yes, I am.

  3    Q.             Are you on any medications at this time

  4    that would impair your ability to testify?

  5    A.             No, I am not.

  6    Q.             And have you received any promises or

  7    benefits from the Government in exchange for your

  8    testimony?

  9    A.             No.

 10    Q.             Could you tell a little bit about your

 11    educational background.

 12    A.             I have a four-year degree from Albright

 13    College in mathematics and -- and went to work in

 14    1975 --

 15    Q.             And you said --

 16    A.             -- after I graduated.

 17    Q.             -- you worked in the IT field?

 18    A.             Correct.

 19    Q.             Did you receive various trainings along

 20    the way?

 21    A.             Yes.    A lot of it was self-training, and

 22    then there were some courses that I took through the

 23    company sending me off to training courses.

 24    Q.             And you indicated that you started with

 25    Moore Products in 1975; is that correct?
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                                                                            16


  1    A.             Correct.

  2    Q.             Let me turn your attention to 1993.

  3    Were you employed at Moore Products at that time?

  4    A.             Yes.

  5    Q.             And what was your title in 1993?

  6    A.             I think -- can I look in the paperwork

  7    here?

  8    Q.             Are you needing to refresh your

  9    recollection --

 10    A.             Yes.

 11    Q.             -- with a document?

 12    A.             Yes.

 13    Q.             Which document would assist you in

 14    refreshing your recollection?          If you go to

 15    Exhibit 196?

 16    A.             Yes.    In Exhibit 196, yes.

 17    Q.             And does -- was Exhibit 196 something

 18    prepared by you back in 1993?

 19    A.             Yes.

 20    Q.             And does it have an indication in there

 21    as to what your title was at that time?

 22    A.             Yes.

 23    Q.             And what was your title at that time?

 24    A.             Stephen A. Dorn, supervisor of technical

 25    services and computer operations.
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                                                                            17


  1    Q.             Give us a little background or tell us a

  2    little bit about what Moore Products did,

  3    specifically focused in 1993.

  4    A.             We were a manufacturer of industrial

  5    controls.     And we were based out of Pennsylvania but

  6    had sales offices throughout the United States and

  7    also international locations in Canada and England.

  8    We had some sales offices and locations in Australia

  9    and Singapore, and -- that's about as much as I can

 10    remember from there.

 11    Q.             Do you have any idea as to how many

 12    people were employed by Moore Products at that time?

 13    A.             To the best of my recollection, I'd say

 14    around 1200 worldwide.

 15    Q.             In 1993 did you have internet

 16    connectivity?

 17    A.             No.

 18

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 21    Q.             Were you able to communicate with other

 22    individuals by email?

 23    A.             Within our office, yes.

 24    Q.             And how was that?

 25    A.             How was that?
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                                                                            18


  1    Q.             Yeah, how did that happen?

  2    A.             We had a mainframe computer running

  3    manufacturing software.         People that had the ability

  4    to sign in via a dumb terminal could have an email

  5    account, and they could just email themselves

  6    locally.    We had no external communications.

  7    Q.             And what is a dumb terminal?

  8    A.             It's -- it's just something you can go

  9    up, and it just has a display and a keyboard; and

 10    you can hit the return button, and it comes up, and

 11    it says give me your user name and password.              You

 12    need to sign in, and it connects you to the

 13    mainframe computer.       There's no -- there's no

 14    personal computer or any of that kind of stuff.

 15    Q.             In order to communicate with one another

 16    were there IP addresses needed?           At that time.

 17

 18

 19    A.             At the time our email was done via a

 20    communications to a mainframe.          So everybody logged

 21    in to the mainframe and they were on their own

 22    private network, and they could communicate, but all

 23    the mail was stored on the mainframe.

 24    Q.             Was that sufficient for Moore Products

 25    to continue to operate in 1993?
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                                                                            19


  1    A.             No.

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 22    Q.                     You said that your company was

 23    able to communicate with one another through the

 24    mainframe.

 25    A.             Correct.
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                                                                            20


  1    Q.             Was that sufficient to continue to

  2    operate and grow as you've mentioned?

  3    A.             No.

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 19    Q.             What did Moore Products need to do at

 20    that point?

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 25    A.             Moore Products needed to grow.
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                                                                            21


  1    Q.             Let me refer you to Government's

  2    Exhibit 196.      Do you recognize that?

  3    A.             Yes.

  4    Q.             And what is that?

  5    A.             This is an application that myself and

  6    my boss wrote for a network address registration so

  7    that our internal network could get attached to the

  8    growing and the new -- newly infantile internet as

  9    we know it today.

 10    Q.             And this is a document you prepared

 11    along with your boss?

 12    A.             Yes.

 13    Q.             And who was your boss at that time?

 14    A.             His name was Jeffrey Richards.

 15    Q.             And was it -- why was it necessary to

 16    make an application for this, for IP addresses?

 17    A.             At the time we were --

 18

 19

 20    A.             At the time we were -- had our own

 21    internal network, and all these devices that we were

 22    adding and the personal computers, all the other

 23    devices, we were now at a point where we had

 24    exceeded the amount of IP addresses that we could --

 25    which is 255, which we could use in our own private
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  1    network. Plus we were going to be attaching all
  2    the sales offices around the country, around the
  3    world onto the internet.
  4    In doing so, we needed to increase the amount of
  5    IP -- TCP/IP addresses that we had, and in order
  6    to do this we applied to Network Solutions, which
  7    was the registration services at the time in
  8    1993, for a class B, as in baker, IP address
  9    network.
 10    Q.    And what is a class B IP network?
 11    A.    A class B IP address network is one that
 12    could give you up to -- it's roughly 65,000 IP
 13    addresses that you could use to grow your company
 14    with.
 15    Q.    What did you have prior to applying for a
 16    class B internet network?
 17    A.    We had a non-routable class C address. A
 18    class C address is a -- an address structure of
 19    such that you can have 255 network devices
 20    attached to one network; and everybody could know
 21    who everybody else is, and they could route
 22    information back and forth and also communicate
 23    thusly. I'll call it like this: A class C address
 24    is -- is 255 people living in their own
 25    community and being able to communicate with
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                                                                            23


  1    everybody.

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  4    Q.             Were you able to obtain a class B

  5    network number?

  6    A.             Yes.

  7    Q.             Let me refer you to Government's

  8    Exhibit 197.

  9    A.             Okay.

 10    Q.             Do you recognize that document?

 11    A.             Yes.

 12    Q.             And what is that document?

 13    A.             A document that we -- was sent from

 14    Network Solutions in response to our application

 15    that we had just sent them a few days before.               And

 16    it says that --

 17    Q.             Well, before you read from it, is this

 18    something that you received from Network Solutions?

 19    A.             Yes.    The date is 17 May,

 20    nineteen-nine -- 1993 up at the top.

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 10    Q.             And was Government's Exhibit 196 and

 11    197, were they documents kept in your control or

 12    your custody during your time at Moore Products?

 13    A.             Yes.

 14    Q.             And are these true and correct documents

 15    from Moore Products?

 16    A.             Yes.

 17                           MR. JONES:     Objection.

 18                           MS. HEATH:     Is there --

 19                           MR. JONES:     They're not documents

 20    from Moore Products, but objection, lack of

 21    foundation.

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  7    BY MS. HEATH:

  8    Q.             Let me ask it this way:         Was

  9    Government's Exhibit 196 and 197 documents prepared

 10    and used in the ordinary course of business at Moore

 11    Products?

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 17    A.             The documents in question were documents

 18    for submission to Network Solutions for a class B IP

 19    address string.      I had to fill out the questions

 20    that were required by Network Solutions in order to

 21    solicit them for a network -- a class B network.

 22                           In response to the -- in response

 23    to my application, and I say my -- our -- from Moore

 24    Products Company, we were granted a class B IP

 25    address network from the company called Network
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  1    Solutions, which at the time was in charge of

  2    internet registration.

  3                           In response to the application, on

  4    the -- on a letter of May 17th, 1993, I received

  5    from Network Solution -- and when I say I, and Moore

  6    Products Company, received this letter stating that

  7    we have been granted a class B IP address network.

  8    Q.             Mr. Dorn, I -- I appreciate the

  9    explanation, and that helps clarify Government's

 10    Exhibits 196 and 197.        Did Government's Exhibits 196

 11    and 197, were they maintained in the ordinary course

 12    of business of Moore Products?

 13                           MR. JONES:     Objection.

 14                           MS. VAN DYK:     Objection:      lacks

 15    foundation.

 16                           MR. JONES:     In particular to 197.

 17                           MS. VAN DYK:     And compound.

 18    A.             These documents were kept at Moore

 19    Products Company and shared with everybody, the

 20    network administrators throughout the rest of the

 21    organization, stating the fact that we were granted

 22    a class B IP address

 23

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 25                           MR. JONES:     Move to strike as
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                                                                            28


  1    nonresponsive and lack of foundation as to 197.

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 16    BY MS. HEATH:

 17    Q.             And in your position at Moore Products

 18    you were able to maintain care, custody, and control

 19    over Government's Exhibits 196 and 197, correct?

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 23    A.             These documents were sent to Moore

 24    Products Company and maintained and stored in filing

 25    cabinets at Moore Products Company.
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                                                                            29


  1                           MS. HEATH:     The Government offers

  2    Government's Exhibits 196 and 197 into evidence.

  3                           MR. JONES:     Objection:     lack of

  4    foundation with respect to 197 in particular,

  5    compound, and lack of personal knowledge.

  6                           MS. MUNK:     And hearsay.

  7    Q.             Mr. Dorn, let me refer you to

  8    Government's Exhibit 196.          What was the date of the

  9    application for the class B internet address network

 10    number?

 11    A.             May 13th, 1993.

 12    Q.             And you were the sender on this

 13    document; is that correct?

 14    A.             Yes.

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 19    Q.             Your name appears as Stephen A. Dorn.

 20    Is that how you would normally refer to yourself?

 21    A.             Yes.    Professionally that's how I would

 22    sign all my documents.

 23    Q.             And on the first page of Government's

 24    Exhibit 196 it has your name with the title

 25    "Supervisor, Technical Services & Computer
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                                                                            30


  1    Operations," correct?

  2    A.             Correct.

  3    Q.             Was that your title at that time?

  4    A.             Yes.

  5    Q.             On page 2 of the document, it appears to

  6    be addressed to Network Solutions.            Is that correct?

  7    A.             Correct.

  8    Q.             And what was Network Solutions?

  9

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 11

 12    A.             Network Solutions was the organization

 13    at that time that was responsible for all internet

 14    addresses maintained and assigned.            So we need to --

 15    we needed to fill out the questionnaire as we did

 16    here on all -- all of these, which there's eight

 17    questions that needed to be answered and submitted

 18    to Network Solutions in order to solicit them and

 19    get an IP address registered to Moore Products

 20    Company.

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                                                                            31


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  8    Q.             No. 2:     It says "no nic handle at this

  9    time."     What does that mean?

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 12    A.             A NIC handle to the best of my ability

 13    was the fact that we didn't have anybody registered

 14    with Net -- Network Solutions as a -- like a user ID

 15    would be today.        None of us within Moore Products

 16    Company had a NIC handle.

 17    Q.             And your name is the only name that

 18    appears on this in answer to the question No. 2,

 19    correct?

 20    A.             Correct.

 21    Q.             You indicate the address for Moore

 22    Products Company that -- Sumneytown Pike; is that

 23    correct?

 24    A.             Yes.     S-u-m-n-e-y-t-o-w-n.

 25    Q.             Okay.     And that's Spring House,
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4626 Page 32 of 224
                                                                            32


  1    Pennsylvania?

  2    A.             Correct.

  3    Q.             There's a network mailbox.          Is that the

  4    network that you discussed earlier as far as the

  5    addressing system for Moore Products?

  6    A.             The network mailbox --

  7

  8

  9    A.             The network mailbox SMTP, percent sign,

 10    quote, DORNSA@MPCDP3, end quote, that was the

 11    mainframe email and was not connected out to the

 12    outside world whatsoever.         That was just our

 13    internal email.

 14    Q.             Okay.

 15

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 22    Q.             The Network Name Recommendation is

 23    "mpco.com."     Do you see that?

 24    A.             Correct.

 25    Q.             What was that for?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4627 Page 33 of 224
                                                                            33


  1    A.             They needed a network name, and at the

  2    time we thought it was the best thing to see; MPCO

  3    standing for Moore Products Company.

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 11    Q.             And let me refer you to Government's

 12    Exhibit 197.      And what was the date that you

 13    actually received the class B network number?

 14    A.             17 May, 1993.

 15

 16

 17

 18

 19    Q.             Is that the date on the top of the

 20    Government's Exhibit 197?

 21    A.             Correct.

 22    Q.             Is it addressed to you?

 23    A.             Yes.

 24    Q.             What was the network number that you

 25    were given?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4628 Page 34 of 224
                                                                            34


  1    A.             167.87.0.0.

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  8    Q.             And how many numbers did you receive in

  9    this network?

 10    A.             Again, it's roughly 65,000.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4629 Page 35 of 224
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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4631 Page 37 of 224
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 15    Q.             Was the acquisition of a class B network

 16    system important for your company?

 17    A.             Yes.

 18                           MS. MUNK:     Object:    vague.

 19                           MS. VAN DYK:     Objection:       vague.

 20                           MR. JONES:     Asked and answered.

 21    Q.             And why was that?

 22                           MR. JONES:     Objection:     relevance,

 23    asked and answered.

 24                           MS. VAN DYK:     Vague and personal

 25    knowledge and lacks foundation.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4632 Page 38 of 224
                                                                            38


  1    A.             A class B network address was necessary

  2    in order for our company to grow and be successful

  3    and compete in the -- in the world of process

  4    controls.     It allowed us to put our sales offices in

  5    remote locations online and allowed them to

  6    communicate to the internet directly.

  7                           MR. JONES:     Move to strike as

  8    nonresponsive.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4633 Page 39 of 224
                                                                            39


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  3    Q.             The assignment of the class B network

  4    number 167.87.0.0 through 167.87.255.255, was that

  5    internet range allowed to be used by any other

  6    company or any other individual?

  7                           MR. JONES:     Objection:     lack of

  8    foundation, misstates the evidence contained on 197,

  9    is vague, lack of personal knowledge.

 10                           MS. VAN DYK:     Calls for a legal

 11    conclusion.

 12    A.             The document that we see here was a

 13    document from Network Solutions that assigned the

 14    class B IP address network of 167.87 to Moore

 15    Products Company and Moore Products Company alone.

 16                           MR. NEVAREZ:     Strike as

 17    nonresponsive.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4634 Page 40 of 224
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  6    Q.             You mentioned that in 2000 the Siemen

  7    Corporation acquired Moore Products; is that

  8    correct?

  9

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 12    A.             In the year 2000 Siemens purchased Moore

 13    Products Company.

 14    Q.             And were you still working at Moore

 15    Products Company at that time?

 16    A.             Correct, yes.

 17    Q.             What was your title at the time of the

 18    Siemens Corporation acquisition?

 19    A.             Manager of computer operations and

 20    networks.

 21    Q.             And what did that job entail?

 22    A.             It entailed maintaining our global

 23    network, as well as our internal network at the

 24    corporate headquarters, and all of the operations on

 25    a day-to-day basis of our manufacturing computer
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4635 Page 41 of 224
                                                                            41


  1    software that ran the business.

  2    Q.             When Siemens Corporation acquired Moore

  3    Products, did your title change?

  4    A.             No.   I -- I still remained computer --

  5    manager of computer operations and networks,

  6    networks and operations.

  7    Q.             And what became of the title of the

  8    company Moore Products?

  9    A.             Due to the fact that Siemens purchased

 10    Moore Products, the name of Moore Products and all

 11    the assets thereof of Moore Products Company were

 12    purchased and assumed by Siemens,

 13

 14                           MR. JONES:     Objection:     lack of

 15    foundation, lack of personal knowledge, calls for

 16    speculation, and vague.

 17                           MS. VAN DYK:     And nonresponsive.

 18    Q.             How long did you work for Siemens

 19    Corporation?

 20    A.             Until 2006.

 21    Q.             And with regard to the transition, was

 22    there any change of location, change of business as

 23    far as your personal day-to-day involvement?

 24

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4636 Page 42 of 224
                                                                            42


  1    A.             Everything -- everything was changing.

  2    We got assimilated into their network.             There was a

  3    project that had us go through and re-address our

  4    entire network in order to fit into the now Siemens

  5    network.

  6                           And day-to-day operations?         A lot

  7    were the same and some were different because of

  8    Siemens now owned us, so we played by the rules that

  9    Siemens dictated to us.

 10    Q.             Let me show you Government's

 11    Exhibit 198.      And what is -- do you recognize

 12    Government's Exhibit 198?

 13    A.             Yes.    That is my business card.

 14    Q.             Is that a business card from the time

 15    that you were working for Siemens?

 16    A.             Yes.

 17    Q.             And is that a business card that you --

 18    you used on a daily basis for the business?

 19    A.             Yes.

 20    Q.             Is everything on that card true and

 21    correct?    And I know it has been redacted, but

 22    everything that shows on the card, is that true and

 23    correct?

 24    A.             Yes.

 25
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4637 Page 43 of 224
                                                                            43


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  2                           MS. HEATH:     The Government offers

  3    Government's Exhibit 198 into evidence.

  4

  5

  6    Q.             Now, how long did you work for Siemens?

  7    A.             Until the year 2006.

  8    Q.             And was this business card accurate from

  9    2000 when you were acquired -- or Moore Products was

 10    acquired by Siemens to the time that you ended your

 11    involvement with Siemens?

 12    A.             Yes.

 13    Q.             Now, the address remains the same on

 14    this:    the Sumneytown Pike in Spring House,

 15    Pennsylvania; is that correct?

 16    A.             Correct.

 17    Q.             That the -- the name is the same as we

 18    saw on the previous document:          Stephen A. Dorn; is

 19    that correct?

 20    A.             Correct.

 21    Q.             And the title provided on the document,

 22    is that the title that you had while working for

 23    Siemens?

 24    A.             Yes.

 25    Q.             You have an email address on there:
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4638 Page 44 of 224
                                                                            44


  1    steve.dorn@sea.siemens.com.          Was that your email

  2    address at the time?

  3    A.             Yes.

  4    Q.             Now, the SEA before Siemens, what did

  5    that stand for?

  6    A.             Siemens Energy & Automation.          It's like

  7    a division of -- Siemens is so large that they have

  8    different divisions.

  9    Q.             Now, after the Siemens acquisition of

 10    Moore Products, was there any part of Moore Products

 11    that continued on separately from Siemens?

 12

 13

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 18    A.             No.    Everything that was owned by Moore

 19    Products Company was purchased by Siemens.

 20                           MS. VAN DYK:     Move to strike as

 21    nonresponsive, and lacks personal knowledge, lacks

 22    foundation.

 23    Q.             Let me refer you to Government's Exhibit

 24    No. 40.    Do you recognize that exhibit?

 25    A.             No.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4639 Page 45 of 224
                                                                            45


  1    Q.             Were you ever shown this exhibit?

  2    A.             Can you repeat the question, please?

  3    Q.             Were you ever shown this exhibit?

  4

  5    A.             In the -- in the year 2015 I was

  6    contacted by an FBI agent and shown this document.

  7

  8

  9

 10

 11    Q.             Now, is that your signature on the

 12    document?

 13    A.             No.

 14    Q.             Is that your normal signature block that

 15    you use professionally?

 16    A.             No.

 17

 18

 19

 20    A.             Anything that I sign professionally was

 21    Stephen A. Dorn and not Steve Dorn.

 22    Q.             Now, at the top of the letter it's dated

 23    June 28th, 2013.       Were you working for Moore

 24    Products in 2013?

 25    A.             No.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4640 Page 46 of 224
                                                                            46


  1    Q.             Did Moore Products even exist in 2013?

  2    A.             No.

  3    Q.             Were you even working for Siemens in

  4    2013?

  5    A.             No.

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 25    Q.             Did anybody ever contact you prior to
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4641 Page 47 of 224
                                                                            47


  1    June 28th, 2013, or around that time to get your

  2    authority to sign this letter?

  3    A.             No.

  4

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  6

  7    Q.             Did anybody around June 28th, 2013, ask

  8    for permission to use your name in a letter such as

  9    this?

 10

 11    A.             No.

 12

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4642 Page 48 of 224
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 20    Q.             Do you see in Government's Exhibit 40

 21    that it is the same IP address that was provided to

 22    you or assigned to you in Government's Exhibit 197?

 23

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4643 Page 49 of 224
                                                                            49


  1    A.             Yes.

  2    Q.             And it indicates at the -- just above

  3    the signature that -- it says, "I certify that I am

  4    authorized on behalf of Moore Products to execute

  5    this letter of agency."         Do you see that statement?

  6    A.             Yes.

  7    Q.             Did you have any authorization in June

  8    of 2013 to sign anything on behalf of Moore

  9    Products?

 10

 11

 12    A.             No.

 13    Q.             At the bottom of the letter it appears

 14    to have an address for some entity.            Do you see

 15    that?

 16    A.             Yes.

 17    Q.             Was that the correct address for Moore

 18    Products when Moore Products did exist?

 19    A.             No.

 20    Q.             Why is that?

 21    A.

 22                                                             it says

 23    Sunnytown Pike, S-u-n, as in Nancy, -n, as in Nancy,

 24    -y-t-o-w-n Pike.       Moore Products Company was at

 25    Sumneytown Pike; S-u-m, as in Mary, -n, as in Nancy,
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4644 Page 50 of 224
                                                                            50


  1    -e-y-t-o-w-n Pike.

  2

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  6    Q.             Were you aware of any other Steve Dorns

  7    that worked for Moore Products or Siemens during the

  8    time that you worked for Moore Products or Siemens?

  9    A.

 10

 11

 12    A.             There was nobody at Moore Products

 13    Company by the name of Steve Dorn.            I am unable to

 14    answer that question because of the fact Siemens is

 15    such a global company, and they could very well have

 16    another Steve Dorn.       I have no clue.

 17

 18

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 20

 21    Q.             Let me refer you to Government's

 22    Exhibits 190 through 195 and ask if you have had a

 23    chance to look at these photographs before coming

 24    into this room today.

 25    A.             They were provided to me in an email,
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4645 Page 51 of 224
                                                                            51


  1    and I have reviewed them, as I am doing now again.

  2    Q.             Do you recognize any of those

  3    individuals?

  4    A.             No.

  5    Q.             Do you recognize any of the names of

  6    these companies?       Hostwinds, H-o-s-t-w-i-n-d-s.

  7    A.             No.

  8    Q.             Adconion, A-d-c-o-n-i-o-n.

  9

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 11    A.             No.

 12    Q.             Amobee, A-m-o-b-e-e.

 13    A.             No.

 14

 15    Q.             GetAds, G-e-t-a-d-s.

 16

 17    A.             No.

 18    Q.             CoreXchange, the C-o-r-e-X-c-h-a-n-g-e.

 19

 20    A.             No.

 21    Q.             Do you recognize the names of these

 22    individuals?      Jacob Bychak.

 23    A.             No.

 24    Q.             Mark Manoogian.

 25    A.             No.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4646 Page 52 of 224
                                                                            52


  1    Q.             Mohammed Abdul Qayyum.

  2    A.             No.

  3    Q.             Peter Pacas.

  4    A.             No.

  5    Q.             Daniel Dye.

  6    A.             No.

  7    Q.             Vincent Tarney.

  8    A.             No.

  9    Q.             Did any of these individuals or entities

 10    contact you regarding the transfer of the block --

 11

 12    Q.             -- 167.87.0.0?

 13    A.             No.

 14    Q.             Did you ever authorize any of these

 15    individuals or entities to use your name?

 16

 17

 18

 19    A.             No.

 20    Q.             Did you ever authorize any of these

 21    individuals or entities to sign Government's

 22    Exhibit 40 on your behalf?

 23

 24

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4647 Page 53 of 224
                                                                            53


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  2    A.             No.

  3

  4    Q.             Did you personally ever transfer or

  5    attempt to transfer the IP block 167.87.0.0 through

  6    167.87.255.255 to any other person?

  7

  8

  9

 10

 11    A.             No.

 12    Q.             Let me refer you to Government's

 13    Exhibit 208, and ask you if you recognize that.

 14    A.             Yes.

 15    Q.             And what is Government's Exhibit 208?

 16    A.             They're copies of my driver's license.

 17    Q.             And there are two different licenses

 18    presented there; is that correct?

 19    A.             Correct.

 20    Q.             Do they represent different time frames?

 21    A.             Yes.

 22    Q.             Unfortunately, they're redacted.           Is --

 23    do you recall the time frames that these two

 24    driver's licenses represent?

 25    A.             The first one was from 2009 to -- and
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4648 Page 54 of 224
                                                                            54


  1    it's usually four to -- four to five years, so it

  2    would be 2013, 2014.        And then the second one would

  3    be when the termination of the first one was, which

  4    would again be 2014 till 2017.

  5

  6

  7    Q.             Do these driver's licenses, are they --

  8    are they accurate driver's licenses?

  9    A.             Yes.

 10    Q.             Did you provide copies of these to the

 11    Government?

 12    A.             Yes.

 13                           MS. HEATH:     The Government would

 14    offer into evidence Government's Exhibit 208.

 15

 16

 17    Q.             On each driver's license in Government's

 18    Exhibit 208 there appears to be a signature; is that

 19    correct?

 20    A.             Correct.

 21    Q.             Is that your accurate signature?

 22    A.             Yes, it is, Stephen A. Dorn.          That's the

 23    way I sign it, all official documents.

 24

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4649 Page 55 of 224
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 16                           MS. HEATH:     Pass the witness.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4656 Page 62 of 224
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                                                                            63


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  2                           First of all, just so I'm clear,

  3    you worked at Moore from 1975 to 2000, correct?

  4    A.             Correct.

  5    Q.             And I believe you testified that during

  6    the time that you worked there from 1975 to 2000

  7    Moore had about 1200 employees?

  8    A.             To the best of my recollection, yes.

  9    Q.             And when you started there in 1975, how

 10    many employees would you say Moore had?

 11    A.             I can't answer that.

 12    Q.             Okay.     Did they have less than 1200 in

 13    1975, or did they always have 1200 employees during

 14    the 25 years that you worked there?

 15    A.             I can't answer that.

 16    Q.             Okay.     You also said that the -- when

 17    Moore was purchased by Siemens in 2000, that Siemens

 18    was a global company; isn't that correct?

 19    A.             Siemens was a global company and still

 20    is.

 21    Q.             Okay.     And I believe you testified that

 22    Siemens had thousands of employees worldwide,

 23    correct?

 24    A.             Correct.

 25    Q.             20,000?     Do they have 20,000 or more?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4658 Page 64 of 224
                                                                            64


  1    A.             You'd have to check with Siemens.

  2    Q.             I know, but your testimony is that they

  3    had thousands of employee -- employees.             So when you

  4    said that they -- you testified that they had

  5    thousands of employees, how many thousands of

  6    employees were you referring to?

  7

  8    A.             You'd have to check with Siemens.

  9    Q.             I understand, and we will do that, but

 10    I'm asking you.        When you made that statement that

 11    there were thousands of employees, how many

 12    thousands of employees were you referring to when

 13    you made that statement?

 14

 15

 16    A.             Yes.     Again, check with Siemens for --

 17    to get exact numbers.

 18    Q.             Okay.     But is your -- is your testimony

 19    that they had more employees than Moore Products did

 20    at the time you left Moore Products in 2000?

 21    A.             Correct.

 22    Q.             Okay.     And when you left Moore Products

 23    in 2000, you went to work at Siemens for another

 24    two -- six years, correct?

 25    A.             In the year 2000 Siemens purchased Moore
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4659 Page 65 of 224
                                                                            65


  1    Products Company.

  2    Q.             Right.

  3    A.             So everything that was Moore Products

  4    Company and Moore Products Company related was now

  5    owned by Siemens.

  6    Q.             Right.    And in fact --

  7    A.             And they owned the employees.

  8    Q.             Right.    So in fact you testified that

  9    Moore Products ceased to exist when Siemens acquired

 10    them in 2000, correct?

 11    A.             Everything that was Moore Products

 12    Company related was now owned by Siemens.

 13    Q.             And as you testified, that Moore

 14    Products ceased to exist when they were acquired by

 15    Siemens; isn't that correct?

 16    A.             I testified that -- and I'm not going to

 17    say anything more.       Can you clarify it again and ask

 18    the question?

 19    Q.             You testified on direct examination that

 20    at the time Siemens acquired Moore Products that

 21    Moore Products ceased to exist as a company; isn't

 22    that correct?

 23    A.             I testified . . . if that's what you say

 24    I testified, you must have more in your notes than I

 25    do.
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                                                                            66


  1    Q.             Okay.    All right.

  2    A.             So as far as in the year 2000 Siemens

  3    purchased Moore Products Company.           Moore Products

  4    Company and anything relating to Moore Products

  5    Company and all the assets now belonged to Siemens.

  6    Q.             And that was as of 2000, correct?

  7    A.             Yes.

  8    Q.             And -- and when you -- and you started

  9    to work at Siemens instead of Moore Products in

 10    2000; isn't that correct?

 11    A.             Yes.

 12    Q.             Your business card in fact was changed

 13    from a Moore Products business card to a Siemens

 14    business card; isn't that correct?

 15    A.             Correct.

 16    Q.             And you said -- you testified that when

 17    you started working at Siemens you had the same job

 18    that you had over at Moore Products but with a

 19    different company, correct?

 20    A.             I had the same job title, now with

 21    Siemens.

 22    Q.             And it was the same responsibilities

 23    that you had at Moore Products, did you carry those

 24    over to Siemens?

 25    A.             I had those responsibilities and other
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                                                                            67


  1    ones that Siemens had dictated that I needed to do.

  2    Q.             Okay.    And you have no idea how many

  3    employees Siemens had at the time you went over to

  4    Siemens in 2000, correct?

  5    A.             I have no actual numbers.         I know that

  6    their location in Alpharetta, Georgia, was larger

  7    than ours and that they had more -- Siemens Energy &

  8    Automation, our division, had many more employees

  9    than Moore Products Company.

 10    Q.             How much larger was Siemens' operation

 11    in Alpharetta, Georgia, than it was in -- here in

 12    Pennsylvania?

 13

 14    A.             I have no clue.

 15    Q.             Can you give me an estimate, your best

 16    estimate, as to how many employees were in

 17    Alpharetta?

 18

 19

 20    A.             You'd have to -- you'd have to check

 21    with Siemens Alpharetta.         They were the corporate

 22    headquarters.

 23    Q.             During the time that you worked for

 24    Siemens from 2000 to 2006 how many times did you go

 25    down to the Alpharetta operations?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4662 Page 68 of 224
                                                                            68


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  2    A.             Two, three times --

  3    Q.             Okay.

  4    A.             -- possibly.

  5    Q.             Is that -- you said possibly.          You don't

  6    know whether or not --

  7    A.             It's two, three times.         It was many

  8    years ago, sir.

  9    Q.             Okay.    You left Siemens in 2006,

 10    correct?

 11    A.             Correct.

 12    Q.             So that would have been about 15 years

 13    ago, correct?

 14    A.             If my mathematics is correct, yes.

 15    Q.             Okay.    And so when you went down to

 16    Alpharetta, was there -- how would you describe

 17    their operations in relations to the operations here

 18    that you left when you first went over to Siemens

 19    with Moore Products?

 20

 21    Q.             Was it bigger or smaller?

 22

 23    A.             Can you clarify the question?          Because I

 24    don't understand what's going on.

 25    Q.             Did the Alpharetta operations have more
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4663 Page 69 of 224
                                                                            69


  1    employees than the Moore Products/now Siemens

  2    operation?

  3    A.             Did the Alpharetta.        With respect to IT

  4    operations or --

  5    Q.             No.   Total employees.

  6    A.             With Siemens?      In Alpharetta and the

  7    Georgia area there there's a couple of -- yes.

  8    Q.             They had more?

  9    A.             I am unable to answer that totally, a

 10    hundred percent what the number is

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4664 Page 70 of 224
                                                                            70


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  2    Q.             How many times, sir, did you go to the

  3    operations in Munich, Germany?

  4    A.             Never.

  5    Q.             Okay.     But would you agree that the

  6    operations in Munich was a lot larger employ -- they

  7    had more employees in Munich than they had over here

  8    in Pennsylvania?

  9

 10    A.             Yes.

 11    Q.             And I believe you testified because of

 12    the size of the operation of Siemens that there

 13    could have been someone named Steve Dorn in their

 14    operations, correct?

 15    A.             You'd have to check with Siemens.

 16    Q.             I know.     But you testified that there

 17    could be a Steve Dorn out of all these employees

 18    that Siemens has.        Isn't that what you testified to,

 19    sir?

 20

 21    A.             I did not want to lie and say there was

 22    nobody, so I told you there could be.

 23    Q.             And so your --

 24    A.             But I did not know the answer to that

 25    question.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4665 Page 71 of 224
                                                                            71


  1    Q.             So your testimony then, sir, is that

  2    there could be a Steve Dorn working at Siemens other

  3    than yourself?

  4    A.             It's a global company.

  5

  6

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  9

 10    Q.             So it's your testimony that there could

 11    be a Steve Dorn out of all the employees employed by

 12    Siemens, you just don't know for sure.             Is that your

 13    testimony, sir?

 14    A.             There possibly could be.

 15    Q.             Okay.    So let me ask you this:

 16    You've -- you've spoken with the Government in this

 17    case, correct, prior to today?

 18    A.             Yes.

 19    Q.             How many times have you personally

 20    spoken with either a government attorney or a

 21    government agent, FBI or otherwise?            How many times

 22    since -- before today?

 23    A.             Can you please make that a more specific

 24    question?

 25    Q.             You said that you were contacted I
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4666 Page 72 of 224
                                                                            72


  1    believe for the first time by an FBI agent in 2015.

  2    Is that the first time you were contacted by a

  3    government agency regarding this case?

  4    A.             Yes.

  5    Q.             Okay.    And so since 2015 you've been

  6    contacted by FBI agents, correct?

  7    A.             Yes.

  8    Q.             And you've been contacted by government

  9    lawyers, correct?

 10    A.             Yes.

 11    Q.             And you've been contacted by telephone,

 12    correct?

 13    A.             Yes.

 14    Q.             You've communicated with them via email,

 15    correct?

 16    A.             Yes.

 17    Q.             Have you -- and you've seen them in

 18    person, correct?

 19    A.             Please clarify that?

 20    Q.             You've had personal meetings,

 21    face-to-face meetings with either agents that

 22    represent the government, FBI agents here or from

 23    California or in Pennsylvania or government lawyers,

 24    you've had personal visits from them --

 25
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4667 Page 73 of 224
                                                                            73


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  4    A.             I've had one visit from an FBI agent to

  5    serve the subpoena.

  6    Q.             Okay.    Is that the only time you've had

  7    a visit from an FBI agent in person?

  8    A.             Face to face?      Yes.

  9    Q.             Okay.    And what was that FBI agent's

 10    name?

 11    A.             Glenn.    I think his last name is Booth.

 12    I would -- I would ask you to verify that with the

 13    Department of Justice.

 14    Q.             And his name you believe is Glenn Booth?

 15    A.             You're correct.

 16    Q.             Okay.    Between 2015 and today's date,

 17    how many phone calls would you say you've had

 18    with -- well, let me ask you this:            Did you have any

 19    phone calls with Glenn Booth?

 20    A.             Yes.

 21    Q.             How many phone calls would you say

 22    you've had with Glenn Booth since he served the

 23    subpoena on you in 2015?

 24    A.             Potentially a half dozen.

 25    Q.             So at least a half dozens, six?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4668 Page 74 of 224
                                                                            74


  1    A.             Yes.

  2    Q.             Okay.    Telephone calls?

  3    A.             Yes.

  4    Q.             All right.     Since 2015?

  5    A.             Correct.

  6    Q.             Have you had any telephone calls with

  7    any other FBI agents?

  8    A.             Other than this morning when my

  9    chauffeur picked me up.         (indicating)

 10    Q.             Okay.    So the answer is you've had no

 11    other telephone calls with -- you've had no

 12    telephone calls with any other FBI agents other than

 13    Mr. Glenn Booth?       I'm sorry.     Visits, personal

 14    visits other than those six times?

 15    A.             Can you restate that and -- and put a

 16    date upon it so I can answer it correctly?

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4669 Page 75 of 224
                                                                            75


  1

  2    Q.             Okay.     Let me slow it down for you.

  3    When was the first time that you had contact of any

  4    kind with the FBI or any government agents or

  5    attorneys regarding this matter?

  6    A.             In 2015.

  7    Q.             Okay.     Since 2015 how many times have

  8    you met face to face with any FBI agents?

  9    A.             Once.

 10    Q.             Okay.     Since 2015 how many times have

 11    you met face to face with any government attorneys?

 12    A.             Zero.

 13    Q.             Okay.     Since 2015 how many phone calls

 14    have you had with FBI agents?

 15    A.             A half dozen.

 16    Q.             And those phone calls were with who?

 17    A.             The first one was with an agent by the

 18    name of Rosemary Vesci.

 19    Q.             And do you recall when that phone call

 20    was?

 21    A.             No.     It was in 2015.

 22    Q.             Okay.     Sometime in 2015?

 23    A.             Correct.

 24    Q.             And what was the next call that you had?

 25    Who else did you speak with?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4670 Page 76 of 224
                                                                            76


  1    A.             I -- the next agent that I spoke with

  2    was a Glenn Booth.

  3    Q.             Okay.     And how many calls have you had

  4    with Glenn Booth since 2015?

  5    A.             Again that would be in the half dozen.

  6    Q.             So you had six --

  7    A.             Yes, I had one -- one with Rosemary and

  8    a total of six altogether with Rosemary and Glenn.

  9    Q.             So you would have had five with Glenn

 10    Booth, correct?

 11    A.             Roughly, yes.

 12    Q.             Okay.     Any other FBI agents did you have

 13    phone calls with?

 14    A.             No.

 15    Q.             All right.     Did you have email

 16    communications with any FBI agents?

 17    A.             Yes.

 18    Q.             Since 2015.

 19    A.             Yes.

 20    Q.             And can you give me an estimate of the

 21    number of emails that -- communications you had with

 22    FBI agents?

 23    A.             No.     You have -- you probably have them

 24    on record, and I would refer to your knowledge of

 25    how many I had.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4671 Page 77 of 224
                                                                            77


  1    Q.             Who did you communicate from the FBI via

  2    email with?

  3    A.             Glenn.

  4    Q.             Glenn?

  5    A.             I also tried to communicate to an agent

  6    out in San Diego as I was instructed, and that

  7    person never responded, and I could not tell you

  8    that person's name.

  9

 10

 11

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 14

 15    Q.             Okay.    Again, your first contact with

 16    the government regarding this case was in 2015.

 17    A.             Correct.

 18    Q.             Prior to today's date, September the

 19    15th, 2021, how many other communications have you

 20    had with any government lawyers or agents in this

 21    case?

 22

 23

 24    A.             Yeah, I -- I've had numerous

 25    communications back and forth with both FBI Agent
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4672 Page 78 of 224
                                                                            78


  1    Glenn Booth and also with Department of Justice

  2    personnel.

  3    Q.             And who at the Department of Justice did

  4    you communicate with?

  5

  6    A.             I don't have all their names on the top

  7    of my head.

  8    Q.             Well, give me the names you remember.

  9

 10    A.             The lawyer here that's representing the

 11    Department of Justice today.

 12    Q.             Okay.    Ms. Heath?

 13    A.             Correct.

 14    Q.             Who else?

 15    A.             A Lisa Thakker.

 16    Q.             A Lisa Thakker?

 17    A.             Correct.

 18    Q.             And do you know which office Ms. Thakker

 19    was out of?

 20    A.             I believe -- I believe it's San Diego,

 21    but I don't know the structure of -- of the

 22    Department of Justice.

 23    Q.             Did you -- did you have a communication

 24    via email or telephone or otherwise with Assistant

 25    U.S. Attorney Melanie Pierson?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4673 Page 79 of 224
                                                                            79


  1    A.             Yes.

  2

  3

  4    Q.             Okay.    That was a yes?       How many times

  5    have you communicated with Ms. Pierson?

  6    A.             I --

  7

  8    A.             I can't tell you.       I don't know.

  9    Q.             Okay.    Have you had any communications

 10    involving AUSA Sabrina Feve?

 11    A.             Any communications.

 12

 13

 14    Q.             We're talking about emails, telephone

 15    calls, any sort of communications with AUSA Sabrina

 16    Feve.    I notice that you recognized her name and

 17    spoke her name --

 18    A.             Sabrina.

 19    Q.             -- this morning for the video.

 20    A.             She was -- she was the one I did a video

 21    call with Candace and Sabrina.          Okay.

 22    Q.             So you did a video call with Ms. Heath

 23    and Ms. Feve?      When was that video call?

 24    A.             A couple days ago.

 25    Q.             Okay.    And what was the nature of that
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                                                                            80


  1    video call that you had with government lawyers?

  2    Without telling me the specifics, but what was the

  3    nature of that call two days ago?

  4    A.             Just --

  5

  6

  7    A.             Just to introduce themselves.

  8    Q.             And was that the first time you ever met

  9    either one of them?

 10    A.             Correct.

 11    Q.             Okay.     What did you do, if anything, to

 12    prepare for today's deposition?

 13    A.             Just reviewed the documents and some of

 14    my emails, which were numerous.

 15    Q.             When you say "some of your emails, which

 16    were numerous," how many emails would you say you

 17    reviewed in preparation for today's deposition?

 18    A.             I can't answer that question.          You

 19    probably have all the copies and can answer it

 20    better than me.

 21    Q.             Can you -- well, you said you reviewed

 22    them, and I take it -- when did you review them?

 23    A.             Last night just went through them.

 24    Q.             Okay.     So last night.     Can you give me

 25    an estimate of how many emails you reviewed last
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4675 Page 81 of 224
                                                                            81


  1    night in preparation for today's deposition?

  2

  3    A.             I can't -- I can't tell you the number

  4    because they all ran together.

  5    Q.             So you -- since last night you forgot

  6    how many emails you reviewed?

  7    A.             Since last night, I reviewed them, they

  8    were in my stack of emails.          I cannot tell you the

  9    number.

 10    Q.             Can you give me an approximate number,

 11    your best estimate?

 12

 13

 14    A.             Twenty.     You know, 15, 20.       I don't

 15    know.

 16    Q.             Okay.     And -- and did someone provide

 17    you those emails?

 18    A.             I had copies of them.

 19    Q.             And who provided you copies of those

 20    emails?

 21    A.             Myself.

 22    Q.             Where did you get the email?          You just

 23    printed them from your computer?

 24    A.             No.     I don't print things.       I just

 25    reviewed them from my computer.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4676 Page 82 of 224
                                                                            82


  1    Q.             So you reviewed them off your computer?

  2    A.             Correct.

  3    Q.             And I take it those emails are still on

  4    your computer, correct?

  5    A.             Correct.

  6

  7    A.             Correct.

  8    Q.             Okay.    And you said you reviewed

  9    documents.     What documents did you review in

 10    preparation for today's deposition?

 11    A.             The documents that I reviewed were the

 12    ones that we saw in the witness list -- or in the

 13    list.

 14    Q.             That you -- that you talked about on

 15    direct examination this morning?

 16    A.             Correct.

 17    Q.             Did you review any other documents?

 18    A.             No.

 19    Q.             Now, I think you testified that you

 20    received photographs that you just reviewed today

 21    via an email.

 22    A.             Correct.

 23    Q.             When -- when did you first receive an

 24    email that contained those photographs?

 25    A.             Within the last week.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4677 Page 83 of 224
                                                                            83


  1    Q.             And who sent you that email?

  2    A.             A defense attorney.

  3    Q.             Who?

  4    A.             Or I'm sorry, not defense.          A Department

  5    of Justice person.

  6    Q.             Which person was that?

  7    A.             She's present here today.         (indicating)

  8    Q.             Okay.    Did you review -- how many

  9    documents did you review in preparation for today's

 10    hearing?

 11    A.             Just the documents that were included in

 12    this morning's testimony.

 13

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 23    Q.             Other than the documents that you

 24    reviewed through -- from Ms. Heath, the emails that

 25    you reviewed last night . . .
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4678 Page 84 of 224
                                                                            84


  1    A.             Yes.

  2    Q.             Okay.    Are there any other documents or

  3    emails or were there any other times that you

  4    reviewed any documents or emails related to this

  5    case since 2015?

  6    A.             No.

  7

  8

  9

 10    Q.             Okay.    One of the emails you sent, sir,

 11    is it true is back in May of -- May 20, 2021, an

 12    email from you -- you have a verizon.net account,

 13    correct?

 14    A.             Correct.

 15    Q.             And in that email -- you sent an email

 16    to Glenn Booth, and the subject was "Phone Call,"

 17    and it's dated May 20, 2021.          And you say, "Glenn,

 18    with respect to voice mail from the other day" --

 19

 20

 21

 22

 23

 24    Q.             "With respect to voice mail from the

 25    other day," what voice mail did you have that was
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4679 Page 85 of 224
                                                                            85


  1    re -- that you were referring to on May 20th?

  2    A.             I have no clue --

  3    Q.             Okay.

  4    A.             -- at this point in time.

  5    Q.             I'm sorry?

  6    A.             At this point in time I cannot answer

  7    that question.

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 22                           MR. JONES:     Okay.    Let the record

 23    show that I've given counsel a copy of an email from

 24    Mr. Dorn to Glenn Booth dated Thursday, May 20 of

 25    2021 at 5:03 p.m.       It's listed at the bottom, this
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                                                                            87


  1    is discovery we received from the Government,

  2    ADCONION-DISCOVERY32-00009, ADCONION-DISCOV32-00010.

  3

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 15    BY MR. JONES:

 16    Q.             Mr. Dorn, let me hand you Defendant's

 17    Exhibit No. A.      Please review that document, sir.

 18    And when you had a chance, when you've had a chance

 19    to do so, just let me know.

 20

 21

 22    A.             Okay.

 23    Q.             Sir, Mr. Dorn, so you've had an

 24    opportunity to review Defense Exhibit A?

 25    A.             All right.
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                                                                            88


  1    Q.             Is that a yes?

  2    A.             Yes.

  3    Q.             Okay.     And so, sir, do you recognize

  4    this as an email that you sent to Mr. Booth back in

  5    May of this year?

  6    A.             Yes.

  7    Q.             Okay.     And in this email, the subject is

  8    "Phone Call."      You see that?      Where it says the

  9    subject line, "Phone Call"?          It's in the header

 10    under Mr. Booth's name.         It says "From:      Steve Dorn;

 11    Sent:    Thursday, May 20, '21, 5:03 p.m.; To:            Booth,

 12    Glenn; Subject:        [External Email] - Phone Call."

 13    A.             Okay.

 14

 15

 16

 17

 18

 19    A.             I see it.

 20    Q.             Okay.     Do you remember typing him this

 21    email?

 22    A.             I recognize the email.

 23    Q.             Okay.     An email that you would have sent

 24    to Mr. Booth, correct?

 25    A.             Yes.
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                                                                            89


  1    Q.             Okay.    And in the first line you say,

  2    "Glenn, with respect to voice mail from the other

  3    day."    What voice mail were you referring to there,

  4    sir?

  5    A.             I'm --

  6

  7    A.             Absolutely I'm not -- I'm not sure.

  8    Q.             Okay.

  9    A.             Because of the fact it's been so long

 10    ago, I just can't remember.

 11    Q.             Okay.    The next line you say, "I have

 12    had horrible email conversations" --

 13

 14

 15    Q.             -- "with your fellow Federal Officers of

 16    the Court in San Diego."

 17

 18

 19    Q.             How many -- how many emails have you --

 20    actually have you -- did you -- were you referring

 21    to there that you had with -- with fellow federal

 22    officers in the court in San Diego?

 23    A.             I'm sure you have the number exactly.             I

 24    just don't know.

 25    Q.             Okay.    But you wrote this email,
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                                                                            90


  1    correct?

  2    A.             Correct.

  3    Q.             And you've identified it as an email

  4    that you sent to Mr. Glenn Booth, correct?

  5    A.             At the time, yes.

  6                           MR. JONES:     We'll move for

  7    admission of E -- of A at this time.

  8                           MS. HEATH:     Objection:     no

  9    relevance to the case.

 10    Q.             And you said that -- so you -- sir, you

 11    can't -- you can't -- you don't remember how many

 12    email conversations you're referring to in this

 13    email of May 2021?

 14    A.             Can you -- can you please state that so

 15    I can understand it and answer?

 16    Q.             I just want to be clear.         You have no

 17    idea how many email communica -- conversations

 18    you're referring to in this email; is that your

 19    testimony?

 20    A.             With respect to what?

 21    Q.             In the first question where you said "I

 22    have had horrible email conversations with your

 23    fellow Federal Officers of the Court in San Diego."

 24    My question was, sir, how many email conversations

 25    were you referring to when you wrote this?
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                                                                            91


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  2    A.             I don't know.      There was -- there was --

  3    there was a few, definitely a few.            I -- you have

  4    the number, I don't.

  5    Q.             No, I don't have the number.

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 13    Q.             How many email conversations had you had

 14    with Glenn's fellow federal officers of the court in

 15    San Diego when you wrote this email on May 20, 2021?

 16    A.             At the time?

 17    Q.             Yes.

 18    A.             We were going back and forth with

 19    emails.

 20    Q.             So how many would you say you had, how

 21    many conversations?

 22    A.             I'll pull --

 23

 24    A.             To pull out a number, a half dozen

 25    again.    Could be right, could be wrong.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4686 Page 92 of 224
                                                                            92


  1    Q.             Okay.    And then you also said, "I

  2    informed them that any future communications should

  3    be done by San Diego personnel in person."

  4                           Why did you write that, sir?

  5                           MS. HEATH:     Objection:     relevance.

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  8    A.             Because of the fact they were going to

  9    force me to fly to San Diego.

 10    Q.             Okay.    In fact you say, "This is because

 11    they need to feel the pain that they would be

 12    putting me through by forcing me to appear in person

 13    by flying coast to coast when there is technology is

 14    available to do the same thing remotely."

 15                           MS. HEATH:     Objection from reading

 16    from a document not in evidence.

 17    Q.             Do you remember saying that, sir?

 18    A.             Can you restate the question again?

 19    Q.             That next sentence, why don't you read

 20    it for me that begins with the word "this is."

 21                           MS. HEATH:     Objection to the

 22    witness reading from a document not in evidence.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4687 Page 93 of 224
                                                                            93


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  2                           MS. HEATH:     Objection:

  3    argumentative.

  4    A.             "This is because they need to feel the

  5    pain that they will be putting me through by forcing

  6    me to appear in person by flying coast to coast when

  7    there is technology available to do the same thing

  8    remotely."

  9    Q.             Okay.    You remember saying that?

 10    A.             It's in front of me here in writing that

 11    I wrote it back on May 20th.

 12    Q.             Okay.    Do you know why you said that?

 13    A.             Because of the fact that it would be

 14    pain -- very much painful for me to fly coast to

 15    coast when there's technology available such as

 16    videoconferencing and the likes to be able to

 17    testify here on the East Coast and have it present

 18    in the -- out on the West Coast.

 19    Q.             And that was in response to them telling

 20    you that the trial was set for November of 2021,

 21    correct?

 22    A.             Yes.

 23    Q.             And that you were a witness, they were

 24    going to call you as a witness in that case in that

 25    trial, correct?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4688 Page 94 of 224
                                                                            94


  1    A.             Correct.

  2    Q.             And then the last sentence of that first

  3    paragraph, can you read that sentence beginning with

  4    "I am also."

  5    A.             "I am also requesting to be taken off

  6    the witness list,

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 24    Q.             Okay.    Let's go to the -- to the next

 25    paragraph and the second sentence from the bottom of
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4689 Page 95 of 224
                                                                            95


  1    that second paragraph that says, "I also do not

  2    trust the prosecutor."        Could you read that, please.

  3    A.             "I also do not trust the prosecutor to

  4    have my back on any witness stand, which is why I

  5    wish to be removed from the witness list.             She" --

  6                           MS. HEATH:     Objection to reading

  7    from a document not in evidence.

  8    Q.             And then read the next sentence after

  9    that, sir.

 10    A.             "She comes across to me as only wanting

 11    victories in her court cases."

 12                           MS. HEATH:     Objection to reading

 13    from a document not in evidence.

 14    Q.             Sir, when you wrote this email in May,

 15    which prosecutor were you referring to?

 16                           MS. HEATH:     Objection:     relevance.

 17    A.             Melanie.

 18    Q.             Is that Ms. Pierson, Melanie Pierson?

 19    A.             Correct.

 20                           MS. HEATH:     Objection:     relevance.

 21    A.             Correct.

 22    Q.             And -- and what, if anything, did

 23    Ms. Pierson say or do to make you feel that -- that

 24    she would not have your back on any witness stand?

 25                           MS. HEATH:     Objection:     relevance.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4690 Page 96 of 224
                                                                            96


  1    A.             I didn't -- I don't know Ms. Pierson,

  2    and she was unsympathetic to the fact that I wanted

  3    to do a remote -- or check into being able to do a

  4    remote testimony in this case, and she wanted -- she

  5    insisted that I fly to San Diego to do an in-person

  6    testimony.

  7    Q.             And is it your testimony that her

  8    insistence upon your flying to San Diego for the

  9    trial in November 2021 was the reason that you say

 10    "I do not trust the prosecutor to have my back on

 11    any witness stand"?

 12                           MS. HEATH:     Objection:     relevance.

 13    A.             We did not have a very good

 14    communications between both of us.

 15    Q.             What -- what do you mean by that, sir?

 16                           MS. HEATH:     Objection:     relevance.

 17    A.             She was unsympathetic to the point of

 18    doing a remote testimony.

 19    Q.             And her lack of sympathy to your request

 20    for remote testimony is the reason that you say you

 21    do not trust her?

 22                           MS. HEATH:     Objection:     relevance.

 23

 24                           MS. HEATH:     Objection:     relevance.

 25    A.             That would be -- that would be correct.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4691 Page 97 of 224
                                                                            97


  1    Q.             And isn't it true, sir, that one of the

  2    reasons that you didn't want to travel to San Diego

  3    at -- in November of 2021 is because you told the

  4    prosecutor that you had personal vacation planned?

  5                           MS. HEATH:     Objection:     relevance.

  6    A.             It's my understanding that I -- I did

  7    everything that's necessary in order to get this

  8    done today, and the Court has ruled in my favor of

  9    having medical disabilities that would be

 10    detrimental to my travel to California.

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 13    Q.             And -- and the approval from the Court

 14    came after this email; isn't that correct?

 15    A.             Correct.

 16    Q.             Okay.    So at the time you wrote this

 17    email, in addition to your medical conditions you

 18    also indicated to the Government that you had

 19    vacation pan -- personal vacation plans that your

 20    wife would be upset if you had to cancel; isn't that

 21    correct?

 22                           MS. HEATH:     Objection:     relevance,

 23    outside the evidence.

 24    A.             Can you show me, show me where I said

 25    that?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4692 Page 98 of 224
                                                                            98


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 12                           In this one that we're on now,

 13    Exhibit A, still in paragraph 2, the last sentence

 14    of that paragraph, you said -- you stated, "She

 15    comes across to me as only wanting victories in her

 16    court cases."

 17                           At the time you wrote this email

 18    in May of 2021, how many times had you spoken with

 19    Ms. Pierson?

 20                           MS. HEATH:     Objection --

 21

 22                           MS. HEATH:     -- from reading from a

 23    document not in evidence and relevance.

 24    A.             None.

 25    Q.             How many email conversations had you had
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4693 Page 99 of 224
                                                                            99


  1    with Ms. Pierson, prior to this May 20 date?

  2    A.             Four, five.

  3    Q.             So based on those four -- did you have

  4    any other kind of communications with her prior to

  5    this May 20, '21, date?

  6                           MS. HEATH:     Objection:     relevance.

  7    A.             Just the emails.

  8    Q.             So no phone calls, correct?

  9    A.             I did not make a phone call to her, no.

 10    Q.             Did she make a phone call to you?

 11    A.             I don't remember.

 12    Q.             Do you remember having any telephone

 13    conversations with her prior to May 20, 2021?

 14                           MS. HEATH:     Objection:     relevance.

 15    A.             No.

 16    Q.             Okay.    You do recall that you had email

 17    communications with her prior to May 20, 2021,

 18    correct?

 19    A.             I'd have to go back and look at my

 20    emails.

 21    Q.             Okay.    But do you recall as you sit here

 22    today having email communications with Ms. Pierson

 23    prior to May 20, 2021?

 24                           MS. HEATH:     Objection:     relevance.

 25    A.             According to the email that I'm looking
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4694 Page 100 of 224
                                                                           100


   1   at here, this exhibit, I must have, yes.

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   6   Q.              You made the statement that, you wrote

   7   that "She comes across to me as only wanting

   8   victories in her court cases," correct?

   9                          MS. HEATH:     Objection:      relevance.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4695 Page 101 of 224
                                                                           101


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   7   Q.              Okay.    In the third paragraph there you

   8   ask Mr. Booth to "Please share this email with your

   9   superiors in the Federal Court system, as no one

  10   else is looking at my best interest at this time.

  11   As I stated before, I did not own the asset, Siemens

  12   owned the asset in 2013 when the document your

  13   office showed me was forged."

  14                           You remember writing that?

  15   A.              Yes, and that's correct.

  16   Q.              So you did not own the asset?

  17   A.              That's correct.      Sie --

  18   Q.              And the asset that you were talking

  19   about is the net block that Ms. Heath spoke with you

  20   about earlier, correct?

  21   A.              That is correct.

  22   Q.              All right.     And then on the --

  23   continuing with that, it says, "I am not the victim,

  24   they are."

  25   A.              I'd like to back up here.         It says that
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4696 Page 102 of 224
                                                                           102


   1   the document was forged.

   2   Q.              Right.     "The document your office showed

   3   me was forged."

   4   A.              Correct.

   5   Q.              Are you a handwriting expert, sir?

   6                            MS. HEATH:   Objection:      relevance.

   7   A.              I am --

   8   Q.              Are you a handwriting expert, sir?

   9                            MS. HEATH:   Objection:      relevance.

  10   A.              It was forged because the Sunnytown

  11   Pike --

  12   Q.              The question, sir --

  13   A.              -- is incorrect.

  14   Q.              Excuse me.

  15   A.              Moore Products Company was not there,

  16   and that was not my signature.

  17                            MR. JONES:   Okay.    Move to strike.

  18   Q.              The question is, are you a handwriting

  19   exemplar expert, sir?         Yes or no?

  20   A.              No.

  21   Q.              Okay.

  22                            MS. HEATH:   Please mute your --

  23   mute your phone.

  24                            MR. JONES:   So move to strike that

  25   last answer as nonresponsive.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4697 Page 103 of 224
                                                                           103


   1   Q.              But going on it says, "I am not the

   2   victim, they are."        That's your statement to the

   3   Government, correct?

   4   A.              That's correct.

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  10                          All right.     And then I'm going to

  11   show you the next in -- in order for the defense.

  12   This will be Defense Exhibit B.           This is an email

  13   dated May 31st, 2021, from Steve Dorn to Glenn

  14   Booth.

  15                          (Defendant's Exhibit B was marked

  16   for identification.)

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  24                          MR. JONES:     We give a copy, let

  25   the record reflect I'm giving a copy of Defendant's
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4698 Page 104 of 224
                                                                           104


   1   Exhibit B to Government counsel.            And I'm also

   2   handing -- I can't roll it back out there.              I handed

   3   a copy of Defendant's B to the -- to the witness.

   4   BY MR. JONES:

   5   Q.              Sir, please review Defense Exhibit B.

   6   A.              Am I allowed to look at this?

   7   Q.              Yes.   I want you to review it, please.

   8   Take your time.

   9                          Mr. Dorn, have you had an

  10   opportunity to completely review Defense Exhibit

  11   No. B?

  12   A.              Yes.   It's an email.

  13   Q.              It's an email.      Is -- would you agree

  14   that this is an email from you dated Monday, May

  15   31st, 2021, at 3:50 p.m. to Glenn Booth?

  16   A.              Yes.

  17   Q.              And the subject is "[External Email] -

  18   Voice Mail Response."         Is that correct?

  19   A.              Correct.

  20   Q.              Is this a true and correct copy of the

  21   email, sir?

  22   A.              It seems to be.

  23   Q.              All right.     So looking at the email, do

  24   you recall writing this email to Mr. Dorn on May

  25   31st?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4699 Page 105 of 224
                                                                            105


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   9   Q.              Do you recall writing this email to

  10   Mr. Booth on May 31st, two-twenty -- 2021, at 3:50

  11   p.m.?

  12                           MS. HEATH:    Objection:      relevance.

  13   A.              It's -- it's an email I sent to him.            Do

  14   I recall writing it?

  15   Q.              Okay.

  16   A.              It's there.

  17   Q.              Okay.    But this is an email that you

  18   would agree that you wrote, correct?

  19   A.              Correct.

  20   Q.              All right.     Let's go to the paragraph

  21   that begins with the number 1.           Do you see that,

  22   sir?

  23   A.              Yes.

  24   Q.              Can you read the first             sentences in

  25   that paragraph.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4700 Page 106 of 224
                                                                           106


   1                           MS. HEATH:     Objection:     reading

   2   from a document not in evidence.

   3   A.              "With the USDA treating me as a

   4   criminal, I wish to be removed as a victim from the

   5   witness list in this case.           I am not the victim

   6   since I did not own the asset.           Siemens owned the

   7   asset and is -- is the victim.           Also, the company in

   8   question, Moore Products Company, was no longer in

   9   existence after being purchased by Siemens, which

  10   again means that Siemens is the victim."

  11   Q.              Okay.

  12                           MR. JONES:     That's it?     Okay.

  13                           MS. HEATH:     Objection from reading

  14   from a document not in evidence.

  15                           MR. JONES:     We move for admission

  16   of Defense Exhibit B at this time.

  17                           MS. HEATH:     Objection:     relevance.

  18   BY MR. JONES:

  19   Q.              Sir, let's go now to the second

  20   paragraph that begins with the number 2.              And if you

  21   don't mind, could you read that entire paragraph

  22   beginning with that is indicated -- designated as

  23   num -- with the number 2.

  24   A.              "I am not available to testify until at

  25   least December 13th due to scheduled vacation time."
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4701 Page 107 of 224
                                                                           107


   1                           MS. HEATH:    Objection:      reading

   2   from a document not in evidence.

   3   Q.              You can continue, sir.

   4   A.              "This is my first time away from home

   5   since 2019 with all the COVID virus problems.               We

   6   are traveling by car in order to stay safe.               The

   7   inconvenience of this entire court case which has no

   8   effect on me should be -- should not come in front

   9   of my mental well being."

  10   Q.              Okay.

  11                           MS. HEATH:    Objection:      reading

  12   from a document not in evidence.

  13   Q.              So at the time you wrote this email on

  14   May 31st you had scheduled vacation time, correct?

  15   A.              Correct.

  16                           MS. HEATH:    Objection:      relevance.

  17   Q.              And where were you going, sir?

  18                           MS. HEATH:    Objection:      relevance.

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  24                           MS. HEATH:    Objection.

  25   Q.
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  25   Q.              Mr. Dorn, the last question I asked you
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4703 Page 109 of 224
                                                                           109


   1   is regarding your scheduled vacation that you

   2   mention on -- in Defendant's Exhibit No. B, the

   3   email dated May 31st, 2021.           I asked you where you

   4   were going on this vacation.           I believe your

   5   testimony is that you are not going to answer that

   6   question.     Is that correct?

   7   A.              It's a personal issue.

   8   Q.              Okay.    So your -- your answer is that

   9   you're not going to answer that question, correct?

  10   A.              It's a personal issue.

  11   Q.              So you refuse to answer that question,

  12   correct?

  13   A.              Correct.

  14                           MR. JONES:     Okay.     Just for the

  15   record, there have been a number of answers and

  16   objections raised this morning that we believe were

  17   improper and unacceptable.           I'm, therefore, going to

  18   leave this deposition open and reserve our right to

  19   seek guidance from the judge on those -- on that

  20   response and any of those other responses.

  21   Q.              So I'll move on, sir.          So with respect

  22   to this scheduled vacation.

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  19   Q.              Okay, sir.     In this email, if you look

  20   at paragraph 3, it has the number 3?             Can you read

  21   that paragraph to us.

  22                          MS. HEATH:     Objection:      reading

  23   from a document not in evidence.

  24   A.              "I intend to solicit the judge directly

  25   to be removed from case by writing letter to Court.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4706 Page 112 of 224
                                                                           112


   1   In this case I will convey to him that I feel --

   2   convey to him my feelings of being treated like a

   3   criminal by the USDA.         I feel that strongly about

   4   this issue."

   5   Q.              Sir, did you write a letter to the

   6   Court?

   7   A.              No.

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  14                           And in this -- going back to

  15   paragraph 3, you said again you feel like you're

  16   being treated like a criminal by the USDA.              You

  17   meant the federal -- did you -- who did you mean by

  18   USDA just so we're clear?

  19   A.              The attorney on -- Ms. Pierson.

  20   Q.              Okay.    And you felt like Ms. Pierson was

  21   treating you like a criminal because she was not

  22   sympathetic to your concerns about having to fly to

  23   California for the trial, correct?

  24   A.              Because she was unsympathetic to the

  25   fact that there's a way to re -- for me to testify
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4707 Page 113 of 224
                                                                           113


   1   remotely without having to fly to California.

   2   Q.              Well, sir, you're aware that in criminal

   3   trials that a defendant is constitutionally entitled

   4   to confront the witnesses against him or her?

   5   A.              I was not prior to all this.

   6   Q.              Okay.     But that did Ms. -- did

   7   Ms. Pierson advise you that that is the reason that

   8   the Government needed you to travel to California to

   9   appear in person?

  10   A.              Yes.

  11   Q.              Okay.     And so once she told you that,

  12   that obviously didn't change your opinion as to

  13   whether or not you should come to California and

  14   appear in person, correct?

  15   A.              Can you restate that again?         I lost you

  16   halfway through.

  17   Q.              Yeah.     When she told you that the

  18   defendants have a constitutional right to have

  19   witnesses to appear in person so that they can

  20   confront them in person --

  21   A.              Um-hum.

  22   Q.              -- did that change your opinion as to

  23   whether or not you should fly to California or not?

  24                           MS. HEATH:    Objection:      relevance.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4708 Page 114 of 224
                                                                           114


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  11   Q.              I take it, sir, you expressed your

  12   concerns to Ms. Pierson?

  13                           MS. HEATH:    Objection:      relevance.

  14   Q.              Correct?

  15   A.              Yes, I did.

  16   Q.              And did you express those concern -- I

  17   take it this email to Mr. -- Mr. Booth, you also

  18   expressed those concerns to Glenn Booth through this

  19   email, correct?

  20                           MS. HEATH:    Objection:      relevance.

  21   A.              Is this -- this is what you're referring

  22   to here in the email?         Yes.

  23   Q.              Yeah.    So you expressed your concerns to

  24   Mr. Booth in addition to Ms. Pierson, correct?

  25                           MS. HEATH:    Objection --
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4709 Page 115 of 224
                                                                           115


   1   A.              Yes.

   2                           MS. HEATH:    -- relevance.

   3   Q.              Did you express your concerns to any

   4   other government agents or attorneys?

   5                           MS. HEATH:    Objection:      relevance.

   6   A.              I really don't remember.         I don't

   7   believe so, but I don't remember.

   8   Q.              Okay.    Let's go to the --

   9   A.              It's been a long time ago.

  10   Q.              It's been May 2021, and now we're here

  11   in September of 2021.         So let the record reflect --

  12                           MS. HEATH:    Objection:      sidebar.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4710 Page 116 of 224
                                                                           116


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   3   Q.              And the question is, why has it been

   4   four months of hell?        And then when you answer that,

   5   the next question would be, who has caused this hell

   6   for you?

   7                          MS. HEATH:     Objection:      compound

   8   question, relevance.

   9   A.              The fact of the matter that I'm sitting

  10   here having to testify is significantly causing me

  11   problems.     I -- that's it.

  12   Q.              What kind of problems is your testifying

  13   here today in Allentown, Pennsylvania, causing you?

  14                          MS. HEATH:     Objection:      relevance.

  15   A.              Anxiety.

  16   Q.              I understand, sir.       Let me just ask you

  17   one more question on this email.

  18

  19                          On the second page of this, just

  20   so we're clear, the last -- almost next to the last

  21   sentence, in capital letters you wrote:             "Finally,

  22   Siemens is the owner of the asset and is the

  23   victim."     You remember writing that, page 2 of that?

  24   A.              Yes.   As I stated earlier, Siemens owned

  25   the asset of the IP address and is the victim here.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4711 Page 117 of 224
                                                                           117


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   6   Q.              They need your testimony to say that you

   7   did not sign that, that document that we just saw

   8   that --

   9   A.              Yes.

  10   Q.              -- was presented?       Okay.

  11   A.              That was a complete forgery.

  12   Q.              Okay.     So the gov --

  13                            MS. VAN DYK:     Objection.

  14   Q.              Did the government tell you it was a

  15   forgery?

  16   A.              Nope.     I told.

  17   Q.              Okay.     So you -- that's your word

  18   "forgery," correct?         Is that your word, sir,

  19   "forgery"?

  20   A.              I don't know the complete definition of

  21   forgery if you're trying to hang me up on that.

  22   Q.              No.     I'm just asking.     Is that your word

  23   or is that a word that came out of the mouths of the

  24   agents?

  25   A.              No.     It was my word.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4712 Page 118 of 224
                                                                           118


   1   Q.              Okay.    All right.     Let me show you the

   2   next item in Defense Exhibit No. C.            Or No. C --

   3   Defense C.      This is an email dated June 8th.

   4                           (Defendant's Exhibit C was marked

   5   for identification.)

   6                           MR. JONES:    For the record I'm

   7   going to hand you a copy of Defense Exhibit C, and

   8   I'm going to give -- no, no, that one goes to him

   9   and a copy goes to counsel.

  10   BY MR. JONES:

  11   Q.              Sir, you can take Defense Exhibit C, and

  12   please review it, and let me know when you're

  13   finished.

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  24   BY MR. JONES:

  25   Q.              Sir, have you had a chance to review it,
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4713 Page 119 of 224
                                                                           119


   1   or you still need more time?

   2   A.              I question the validity of some of this

   3   email.

   4   Q.              Okay.    The question first, sir, have you

   5   had a chance to review the -- the Defense Exhibit C?

   6   A.              I've had a chance to -- to look at it.

   7   Q.              Okay.    Well, let me ask you a couple

   8   questions.

   9   A.              And I would like -- I would like to be

  10   able to review it again --

  11   Q.              Okay.

  12   A.              -- at a further -- at a further time

  13   during this question.

  14   Q.              Yeah, you can keep the document in front

  15   of you because I'll be referring to it.             But you've

  16   had a chance to review it?

  17   A.              Yes.

  18   Q.              And is it an email from you -- a series

  19   of communications.        One between you and Glenn Booth,

  20   Agent Glenn Booth starting on June 6, 2021, if you

  21   look at page 2?

  22                           MR. JONES:    And just for the

  23   record, this is ADCONION-DISCOVERY32-00003 and

  24   ADCONION-DISCOVERY32-00004 that defense received in

  25   the production of discovery from the Government.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4714 Page 120 of 224
                                                                           120


   1   Q.              So, sir, looking at page 2 of this

   2   document?     If you could turn to page 2 of the

   3   document, sir?

   4   A.              Yes, and that's where I have a question.

   5   Q.              Okay.   And if you look, it says, "On

   6   6/6/2021, 10:16 -- 10:06 PM, Steve Dorn wrote."                Do

   7   you recall writing this message to Glenn Booth?

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4715 Page 121 of 224
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  21   Q.              Okay.   Do you recall in paragraph 2 that

  22   reads, "Bearing item No. 1 in mind, please arrange

  23   to take me off the witness list, as I will only

  24   testify under duress caused by the states attorney.

  25   Don't I have a fifth -- don't I have Fifth Amendment
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4717 Page 123 of 224
                                                                           123


   1   rights to refuse to testify?          I did not own the

   2   asset.    Siemens owned it and should be responsible

   3   for any issues involving the asset.            Any

   4   documentation to that fact that I did own it was

   5   forged by criminals."

   6                           MS. HEATH:    Objection.

   7   Q.              Do you remember -- do you recall

   8   making -- writing this in an email to Mr. Dorn or

   9   making that statement?

  10                           MS. HEATH:    Objection:      relevance.

  11   Q.              Booth, Mr. Booth.       I'm sorry.

  12   A.              I've written it down here in the fact

  13   that "Siemens owned it and should be responsible.

  14   Any documentation to the fact I did own it was

  15   forged by criminals."

  16   Q.              Okay.    So you recall making that

  17   statement as it appears in writing that to Mr. Booth

  18   as indicated in paragraph No. 2, correct?

  19   A.              Correct.

  20

  21   Q.              Okay.

  22

  23   Q.              And then paragraph No. 3:         "I will not

  24   be available on November 30th as you well know from

  25   our prior conversations."
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4718 Page 124 of 224
                                                                           124


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   2   Q.              "I am on a prepaid vacation after close

   3   to two years of this COVID environment.             I would not

   4   travel on an airplane to due -- due to health and

   5   COVID reasons.       I will not be in Pennsylvania on the

   6   November 30th date of the subpoena.            I also suffer

   7   from anxiety and depression, and this whole witness

   8   subpoena is causing me major problems."

   9                          Do you recall telling Mr. Booth --

  10   making that statement to Mr. Booth?

  11                          MS. HEATH:     Objection:      relevance.

  12   A.              And that is the statement and that's

  13   what's written down here,

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  22   Q.              So this prepaid vacation is the one that

  23   we just discussed about you going two days' drive

  24   from Pennsylvania, correct?

  25   A.              Correct.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4719 Page 125 of 224
                                                                           125


   1   Q.              And you said you would not travel on an

   2   airplane.     Correct?

   3                          MS. HEATH:     Objection:      relevance.

   4   A.              Correct.

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   7                          MS. HEATH:     Objection:      relevance,

   8   speculation, assumes facts not in evidence.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4720 Page 126 of 224
                                                                           126


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   5   Q.              Okay.    In paragraph No. 5 it says, "I

   6   want nothing to do with the states attorney.               The

   7   judge should know this and allow me to be removed

   8   from the witness list.         I was also not a victim as

   9   it states on the subpoena.           How can this be done?"

  10                           Do you recall writing that to

  11   Mr. Booth?

  12                           MS. HEATH:     Objection:     reading

  13   from a document not in evidence and --

  14   A.              Yeah, it's writ -- it's written here.

  15   Q.              So if it's written, that means you wrote

  16   it, correct?

  17   A.              Yes.

  18   Q.              Okay.    And in this -- in this exhibit

  19   you also put in capital letters:            "I do not want to

  20   be involved with this case."           Isn't that true?

  21

  22

  23   A.              And where is that located?

  24   Q.              If you look at the second page, the

  25   first complete paragraph?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4721 Page 127 of 224
                                                                           127


   1   A.              Okay.

   2   Q.              It begins with "I will sign any legal

   3   document."      The last sentence -- or next-to-last

   4   sentence says, "This is why I do not want to be

   5   involved with this case."

   6   A.              Can you -- can you read the whole

   7   paragraph to me, please?

   8                            MS. HEATH:   Objection:      reading

   9   from a document not --

  10   Q.              No.     I want to ask you, did you say you

  11   did not want to be involved with this case?

  12                            MS. HEATH:   Objection:      reading

  13   from a document not an exhibit -- not in evidence

  14   and also --

  15   Q.              Do you recall saying --

  16                            MS. HEATH:   -- irrelevant to the

  17   case.

  18                            MR. JONES:   I'm sorry.

  19                            MS. HEATH:   Go ahead.

  20   Q.              Okay.     Do you recall -- did you write

  21   that?    It's in this email, so that meant you wrote

  22   it, correct?      "I do not want" -- it's in capital

  23   letters:     "I do not want to be involved with this

  24   case."

  25
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4722 Page 128 of 224
                                                                           128


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   3   A.              Since the people --

   4   Q.              Did you write that, sir?

   5   A.              Since the --

   6   Q.              Did you write --

   7   A.              I wrote the fact that the --

   8   Q.              -- "I do not want to be" -- excuse me,

   9   sir.    Sir?

  10   A.              Yes.

  11   Q.              Please give me the courtesy of letting

  12   me ask the question before you answer what you want

  13   to answer.      The question is:      "I do not want to be

  14   involved with this case," you wrote that, correct?

  15   A.              Yes.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4723 Page 129 of 224
                                                                           129


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   6   Q.              Let's go back to the first page, sir, of

   7   this document, D -- I mean C, the first page?

   8                          There is a header at the bottom of

   9   the page:     "From Steve Dorn; Tuesday, June 8, 2021,

  10   12:51 and 10 seconds a.m.: to Glenn Booth, [External

  11   Email] - Voice Mail Again."          Do you see that, sir?

  12   A.              Yes.

  13   Q.              And do you see in the first paragraph,

  14   and you -- is this a true and correct copy of the

  15   email that you wrote to Mr. Dorn on June 8, 2021?

  16   A.              Please reask the question.

  17   Q.              Is this a true and correct copy of the

  18   email that you sent to Mr. Dorn -- Mr. Booth on June

  19   8, 2021, at 12:51 a.m.?

  20   A.              Since you -- since you have a copy of

  21   it, that must have been -- must be that I wrote it.

  22   Q.              So will you -- will you acknowledge for

  23   the record that this is a true and correct copy of

  24   the email that you wrote on that day?

  25   A.              The entire email, yes.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4724 Page 130 of 224
                                                                           130


   1   Q.              Okay.    And in the first paragraph in

   2   bold -- I mean in cap -- in cap letters you wrote,

   3   "I will not be available on November 30th and refuse

   4   to fly to San Diego."

   5                           MS. HEATH:    Objection:      relevance,

   6   reading from a document not in evidence.

   7   Q.              Do you recall writing that to Mr. Booth?

   8   A.              Because technology is available, yes.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4725 Page 131 of 224
                                                                           131


   1   A.

   2   Q.              When did you get communication with the

   3   Court -- have communication with the Court regarding

   4   your medical condition?

   5                          MS. HEATH:     Objection:      relevance.

   6   This issue has already been ruled on by the Court.

   7

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  25                                             I'm asking you on
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4726 Page 132 of 224
                                                                           132


   1   June 8 had you had a communication with the Court

   2   saying that you could not -- you did not need to

   3   travel to San Diego?

   4                            MS. HEATH:   Objection:      relevance.

   5   A.              No.

   6   Q.              Okay.     So on June 8 when you say to

   7   Mr. Booth that you refuse to fly to San Diego, did

   8   you consider on June 8 taking the train to San

   9   Diego?

  10                            MS. HEATH:   Objection:      relevance,

  11   assuming facts not in evidence.

  12   A.              I would not take a train, no.

  13   Q.              So you did not consider taking a train,

  14   correct?

  15   A.              No, sir.

  16   Q.              All right.     Let's go to -- down further

  17   in that email, the second paragraph beginning with

  18   the number 3.         You say to Mr. -- actually, you say

  19   "As for topic of conversation for the phone call."

  20   What phone call were you referring to there, sir?

  21

  22   A.              I can't -- I don't remember -- I don't

  23   recollect, I could remember.

  24   Q.              Okay.     And you go on to say, "The

  25   document from Rosemarie is attached."             What document
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4727 Page 133 of 224
                                                                           133


   1   did you attach?

   2

   3   A.              The document that was attached was in

   4   the Government's --

   5                            THE WITNESS:     Should I?

   6                            MS. HEATH:     (Nodding head up and

   7   down.)

   8   Q.              Yeah, you can tell me what exhibit the

   9   Government showed you.

  10   A.              Forty.

  11   Q.              So on June 8 you had received Government

  12   Exhibit No. 40 from the Government through Rosemarie

  13   who was a federal agent with the U.S. Government?

  14   A.              That's incorrect.

  15   Q.              Okay.     Well, you tell me where you got

  16   it from.

  17   A.              This is a copy of the document that I

  18   got back in 2015 from Rosemarie in that one

  19   communication with her back in 2015.

  20   Q.              Okay.     Just so I'm --

  21   A.              When this -- when all this stuff

  22   started.

  23   Q.              So just so I'm clear, you said that you

  24   received a subpoena from the Government in 2015,

  25   correct?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4728 Page 134 of 224
                                                                           134


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   2   A.              No.

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   8   Q.              So I believe -- let me see if I can

   9   recall.     That was the first contact that you had

  10   with the Government in 2015, correct?

  11   A.              Correct.

  12   Q.              And that was with Rosemarie?          And I

  13   don't know if you gave me her last name, but what

  14   was her last name?

  15   A.              I -- you'd have to look it up.

  16   Q.              Okay.   But she was a federal -- an FBI

  17   agent?

  18   A.              Yes.

  19   Q.              And did you meet with her in person?

  20   A.              No.

  21   Q.              And did you -- was it an email

  22   communication?

  23   A.              Yes.

  24   Q.              And -- and this email communication was

  25   the first time you had communication with Rosemarie
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4729 Page 135 of 224
                                                                           135


   1   or anybody from the FBI?

   2   A.              Yes.

   3   Q.              Okay.    And did they explain to you why

   4   they were contacting you in 2015?

   5   A.              Yes.    Just to -- just to verify my

   6   signature.

   7   Q.              Okay.    So they sent you Government

   8   Exhibit No. 40 out of the blue, correct?

   9   A.              Correct.

  10   Q.              Okay.    And on June 8, 2021, some almost

  11   six years later, you were going to have a phone call

  12   and the topic of the conversation was the document

  13   that Rosemarie gave you in 2015?

  14

  15

  16   A.              I -- can you restate the question?

  17   Q.              I said you received a document that is

  18   referenced in this email you said from Rosemarie,

  19   correct?

  20   A.              Correct.

  21   Q.              And you said that you received this,

  22   first received this document from Rosemarie in 2015.

  23   A.              Correct.

  24   Q.              And we're now in June of 2021 --

  25   A.              Okay.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4730 Page 136 of 224
                                                                           136


   1   Q.              -- based on this email, and you're

   2   referencing the document that you received from

   3   Rosemarie in 2015, correct?

   4   A.              Correct.

   5   Q.              Between 2015 and 2021 did you discuss

   6   the document that you received from Ms. Rose -- from

   7   Rosemarie in 2015 with any federal agents?

   8   A.              No.

   9

  10   Q.              Okay.

  11   A.              No.

  12   Q.              Did you discuss the document that you

  13   received from Rosemarie in 2015 that is referenced

  14   in this email dated June 2021 with any government

  15   attorneys or lawyers from the Department of Justice?

  16   A.              Can you -- can you put the dates on that

  17   again, please?

  18   Q.              2015 until June 2021, did you have any

  19   conversations with any government attorneys or DOJ

  20   attorneys about the document that you received out

  21   of the blue from FBI Agent Rosemarie in 2015?

  22   A.              Between 2015 and June 8th.

  23   Q.              Between that time, yes.

  24

  25
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4731 Page 137 of 224
                                                                           137


   1   A.              I definitely didn't have any

   2   communications, and if I did, it might have been a

   3   month or so before.

   4   Q.              A month before June?

   5   A.              I -- you have all the emails, and you

   6   can put everything together and tell me the time

   7   frame.

   8   Q.              No, sir.     You are a witness who

   9   apparently is supposed to have personal knowledge of

  10   the incidents that are being questioned, so we have

  11   to get the information from you.            We can't just

  12   produce documents.         So that's why --

  13

  14   Q.              -- that's why I have to ask you

  15   questions.

  16   A.              Then I -- then I'd like to have access

  17   to all the emails I have on my computer.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4732 Page 138 of 224
                                                                           138


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   2   Q.              Do we have permission to search your

   3   computer, sir?

   4   A.              No.

   5   Q.              Okay.   Well, you have the emails.

   6

   7

   8   Q.              When you received this document that you

   9   referred to in this email of June 8, 2021, did you

  10   have any conversations with Agent Rosemarie about

  11   that document?

  12   A.              Can you ask the question again?           Because

  13   I'm -- I just need the question asked again.

  14   Q.              All right.     Let me slow down.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4733 Page 139 of 224
                                                                           139


   1   BY MR. JONES:

   2   Q.              So you said that regarding the document

   3   that is referenced on this email dated June 8, 2021,

   4   that says "As for topic of conversation for the

   5   phone call, the document from Rosemarie is

   6   attached."

   7   A.              Correct.

   8   Q.              And you said that that was the first

   9   communication of any kind from any government

  10   agency -- government agent or attorney regarding

  11   this matter, in 2015 when you received an email from

  12   Rosemarie; is that correct?

  13   A.              Correct.

  14   Q.              And you said in that email there was a

  15   document attached, correct?

  16   A.              Correct.

  17   Q.              And that would be Exhibit 40 that you

  18   were shown by government counsel today, correct?

  19   A.              Correct.

  20   Q.              And when you received this email from

  21   Rosemarie, Agent Rosemarie, did you have any

  22   conversation with her after you received this

  23   document and email from Rosemarie?

  24   A.              Yes.   I had a phone call with her.

  25   Q.              Was it the same day that you received
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4734 Page 140 of 224
                                                                           140


   1   the document that you had the phone call?

   2   A.              It's 2015.     I don't know.

   3   Q.              So you can't remember?        You can't

   4   remember whether it was the same day or not?

   5   A.              In 2015?     No.

   6   Q.              Okay.   So between the phone call that

   7   you -- how many phone calls did you have with

   8   Rosemarie about the document that she sent to you in

   9   2015?

  10   A.              One.

  11   Q.              Okay.   And other than that one phone

  12   call, between 2015 and June 8, 2021, did you have

  13   any other phone calls with any other government

  14   agents or attorneys about the document that

  15   Rosemarie sent to you on that day?

  16

  17

  18   A.              I don't believe so.

  19   Q.              Okay.   So after this email of June 8,

  20   2021, referencing the document that Rosemary --

  21   Agent Rosemary attach -- sent to you attached to an

  22   email in 2015, did -- was there a phone call that

  23   occurred after June 8 about this document?

  24   A.              I can't remember.

  25   Q.              Okay.   Looking at the email further,
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4735 Page 141 of 224
                                                                           141


   1   looking at the paragraph that begins with the number

   2   3, it says, "Your attorneys and Siemens attorneys

   3   should have documentation that Moore Products Co did

   4   not exist in 2013."

   5

   6   Q.              Do you remember writing that?

   7

   8

   9   A.              Yes.

  10   Q.              Okay.    And then No. 5, paragraph No. 5,

  11   "Since there was no Moore Products Company, the

  12   title provided under my signature is bogus."

  13                           That was your statement and

  14   opinion, correct?

  15

  16

  17   A.              The document that we're discussing here

  18   then, it's No. 40, has an executive vice president

  19   of IT operations as my title on this document, to

  20   which I -- it is definitely a title which I never

  21   had in my working career.

  22   Q.              All right.     But on June 8, 2021, you

  23   stated, "Since there was no Moore Products Company,

  24   the title provided under my signature is bogus,"

  25   correct?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4736 Page 142 of 224
                                                                           142


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   3   A.              The title is bogus because I never held

   4   that title.

   5   Q.              I understand that.       But I'm saying that

   6   you wrote this sentence that says "Since there was

   7   no Moore Products Company, the title provided under

   8   my signature is bogus," correct?

   9   A.              Yes, because Moore Products Company was

  10   owned by Siemens.

  11

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  17

  18   Q.              Okay.   And looking above that, that last

  19   email that's dated June 8, 2021, 12:22 p.m. from you

  20   to Glenn Booth says, "Yes.          I will wait for your

  21   call."

  22

  23

  24   Q.              Do you recall having a conversation with

  25   Glenn Booth, telephone conversation with Glenn Booth
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4737 Page 143 of 224
                                                                           143


   1   regarding the document that Rosemarie sent to you in

   2   2015 on Tuesday, June 8, 2021?

   3   A.              I had a phone call with Glenn Booth.

   4   Q.              Did you have -- did you speak with any

   5   other FBI agents or government attorneys on that

   6   call?

   7   A.              No.

   8   Q.              Okay.     How long did that call last?

   9

  10   A.              I don't know.

  11   Q.              Sir, with respect to the net blocks or

  12   the net -- I'm sorry.         And just so -- just so I'm

  13   clear, one last thing about your communications with

  14   the Government.         When is the last -- prior to this

  15   morning before the start of this deposition, when

  16   was the last conversation you had with a government

  17   agent or government attorney involved in this case?

  18

  19   A.              The last communication I had was with

  20   the Department of Justice (indicating) lawyer.               She

  21   sent me all the information.          (indicating)      And that

  22   was it.

  23   Q.              Did -- and that was when?         When did you

  24   receive -- when did you have the communication with

  25   Ms. Heath?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4738 Page 144 of 224
                                                                           144


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   3   A.              Last Friday was the last communication I

   4   had with her about this case.           I emailed her Monday

   5   night to give her recommendations on a restaurant

   6   since she had to travel here.

   7   Q.              And in that Friday conversation, was

   8   that by telephone, a videoconference?

   9

  10   A.              A videoconference.

  11   Q.              And was there any -- were there any

  12   other federal agents or government attorneys on that

  13   videoconference with you and Ms. Heath?

  14

  15   A.              Sabrina.

  16   Q.              AUSA Sabrina Fave?       Feve?    I'm sorry.

  17   A.              I'm unfamiliar with her last name, I

  18   don't have that.        But it was Sabrina.

  19   Q.              An attorney from the U.S. Attorney's

  20   Office in California?

  21   A.              Correct.

  22   Q.              Okay.    Other than -- was there anyone

  23   else with you, Ms. Heath, and Ms. Feve on that

  24   videoconference?

  25   A.              No.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4739 Page 145 of 224
                                                                           145


   1   Q.              Okay.    And how long did that

   2   videoconference last?

   3   A.              An hour.

   4   Q.              Okay.    And during that hour did you

   5   review the documents that Ms. Heath had shown -- had

   6   sent to you?

   7   A.              Yes.

   8   Q.              Okay.    And were you asked questions

   9   about those documents?

  10   A.              Yes.

  11   Q.              Okay.    And did both Ms. -- Ms. Feve and

  12   Ms. Heath both asked you questions about this

  13   document, these documents?

  14   A.              Yes.

  15   Q.              Okay.    Now let's go to I think it's --

  16   you have the binder in front of you.             It's

  17   Government Exhibit 196.         Could you turn to that one,

  18   please, sir?      Do you have that before you, sir?

  19   A.              Yes.

  20                           MR. JONES:    And this is for the

  21   record ADCONION-DISC32-00020, 00021, and 00022.

  22   Q.              Do you see that three-page document in

  23   front of you, sir?

  24   A.              Yes.

  25   Q.              Okay.    And I believe you testified that
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4740 Page 146 of 224
                                                                           146


   1   this was the application that you made to Network

   2   Solutions in May of 1993; is that correct?

   3   A.              Correct.

   4   Q.              Okay.   And there's no signature on this

   5   application, is there?

   6   A.              No.

   7   Q.              Okay.   And when you submitted the

   8   application, what was your title again?

   9   A.              Supervisor of technical services and

  10   computer operations.

  11   Q.              And how big was the company at that

  12   time?

  13   A.              Again I'll reference the 1200.

  14   Q.              Okay.   And -- and who was your

  15   supervisor at that time?

  16   A.              Per the statement I made earlier today,

  17   Jeffrey Richards.

  18   Q.              And what was Jeffrey -- Jeffrey

  19   Richards' role or title?

  20   A.              He was the head of the data processing

  21   department.      IT department we would call him.

  22   Q.              You weren't the president of the

  23   company, correct?

  24   A.              No.

  25   Q.              And in 1993 how long had you been with
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4741 Page 147 of 224
                                                                           147


   1   the company?

   2   A.              Since 1975.

   3   Q.              Okay.   And when you were -- in 1993 what

   4   were your role -- what was your role and

   5   responsibilities in the company?

   6   A.              I was supervisor of technical services

   7   and computer operations.

   8   Q.              And what does that mean?         What do you

   9   do, what were your duties?

  10   A.              The network that we had in-house, I was

  11   in charge of that as well as anything technically

  12   that was going on on the network, and also the

  13   day-to-day computer operations of the manufacturing

  14   company that I worked for.

  15   Q.              And when you say you were in charge of

  16   the network, can you be a little bit more specific

  17   and tell us what you actually do.

  18   A.              Whatever was necessary to be attached to

  19   the network, we had to run the wiring, physical

  20   wiring, because back in that time there was no WiFi.

  21   And we had to make sure that they were within

  22   specifications and the devices that we attached to

  23   the network would be able to communicate on our

  24   internal network, and also the mainframe and -- the

  25   terminals that attached to the mainframe needed to
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4742 Page 148 of 224
                                                                           148


   1   be on -- on a separate network.

   2   Q.              And when you say devices, can you be

   3   more specific?

   4   A.              I will reference --

   5   Q.              If you just recall.       We have the

   6   documents.      You don't have to --

   7   A.              I will reference the document which

   8   tells you what's --

   9   Q.              So you don't have any personal knowledge

  10   right now as to what the devices were, you have to

  11   read from the paper?

  12   A.              The fact that I want to be correct is --

  13   and to make sure you understand.            It says personal

  14   computers, workstation, mini-computers, large

  15   mainframes currently existing on the same network.

  16   Q.              So basically the computers there at a

  17   facility in -- in Pennsylvania, correct?

  18   A.              Correct.

  19   Q.              And this was all for internal purposes

  20   only, correct?

  21   A.              Yes.

  22   Q.              And how many people did you supervise as

  23   your -- in your role as manager of this department?

  24   A.              It's a long time ago.        I just don't

  25   remember.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4743 Page 149 of 224
                                                                           149


   1   Q.              So you don't --

   2   A.              A half -- half dozen.

   3   Q.              So you don't remember if you -- do you

   4   recall if you had people that worked under, that

   5   reported to you?

   6   A.              Excuse me?

   7   Q.              Do you recall if you had people in 1993

   8   that reported to you?

   9   A.              Yes, I did.

  10   Q.              How many people reported to you in 1993,

  11   approximately?

  12   A.              A half dozen.

  13   Q.              When you -- after you completed this

  14   application, I take it you mailed it to Network

  15   Solutions?

  16   A.              If you take a look at the cover letter,

  17   it is a fax.

  18   Q.              So you faxed it, the old fax machine.

  19   All right.      At the time you faxed this application

  20   did you pay any application fees upon filing of this

  21   application or faxing this application?

  22   A.              No.

  23   Q.              Okay.   When you -- if you go back to the

  24   letter, if you look at Government Exhibit 197.               Can

  25   you turn to that, please, sir?           Do you have that in
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4744 Page 150 of 224
                                                                           150


   1   front of you, sir?

   2   A.              Yes.

   3   Q.              And I believe this is a -- you

   4   identified this as a letter that you received from

   5   Network Solutions, correct?

   6   A.              Correct.

   7                           MR. JONES:    And this is for the

   8   record ADCONION-DISC32-00023.

   9   Q.              Do you see that at the bottom, sir?

  10   Just make sure we're on the same page.             Is that

  11   correct?

  12   A.              Yeah, whatever that means, yes.

  13   Q.              Yeah, that's the number.         And it says

  14   Government Exhibit 197, correct?

  15   A.              Correct.

  16   Q.              And did you receive this letter via fax

  17   or via the mail?

  18   A.              I am not sure.

  19   Q.              Okay.    And according to this letter, it

  20   says that "MPCO has been assigned Class B net number

  21   167.87.0.0," correct?

  22   A.              Correct.

  23   Q.              There's no "slash 16" included on this

  24   letter, correct?

  25   A.              This letter was sent to us from Network
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4745 Page 151 of 224
                                                                           151


   1   Solutions.

   2   Q.              Right.     And -- and again it says in the

   3   first sentence after Dear Stephen A. Dorn, "MPCO has

   4   been assigned Class B net number 167.87.0.0,"

   5   correct?

   6   A.              Correct.

   7   Q.              Okay.    There's no "slash 16" at the end

   8   of that number; is that correct?

   9   A.              You can see that it's not on the

  10   document.

  11   Q.              Okay.    And in this letter is there any

  12   purported time or use restrictions on the net blocks

  13   contained in this letter?           Is there anywhere in this

  14   letter that puts any time or use restrictions on the

  15   net blocks?      And you could take your time and review

  16   it.

  17   A.              They reference an RFC-826, which I don't

  18   know what that is.         And --

  19   Q.              So --

  20   A.              -- as far as I know.

  21   Q.              Yeah.    So -- so on this letter, on the

  22   face of this letter there's no purported time or use

  23   restrictions on the net blocks contained in this

  24   letter; isn't that correct?

  25   A.              Within this letter?       Yes, except for the
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4746 Page 152 of 224
                                                                           152


   1   reference of the RFC-826.

   2   Q.              Okay.   And you don't know what RFC-826

   3   is as you sit here today, do you?

   4   A.              No.

   5   Q.              Okay.   And you received this letter,

   6   it's dated -- well, the date of the letter is May

   7   17, 1993, which would have been four days after you

   8   faxed the application over to them; is that correct?

   9   A.              Correct.

  10   Q.              Did you receive it on May 17th or did

  11   you receive it some other -- after May 17th?

  12   A.              I can't answer that.

  13   Q.              And do you recall if you received it

  14   through the mail or via fax?

  15   A.              I can't answer that either.

  16   Q.              Okay.   Do you recall whether or not you

  17   paid or Moore Products paid any money to Network

  18   Solutions for this net block?

  19   A.              I did not pay anything because I was

  20   doing this for Moore Products Company.

  21   Q.              Okay.

  22   A.              I worked for Moore Products Company, and

  23   we did not pay Network Solutions any amount of

  24   money.

  25   Q.              Okay.   And in your application, if you
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                                                                           153


   1   go to -- back to 196?         And Government Exhibit 196.

   2   And I want you to -- this is the complete

   3   application that you faxed over to Network Solutions

   4   on behalf of Moore Products Company?

   5   A.              Correct.

   6   Q.              Okay.   There were no other documents

   7   that you sent over with respect to this application,

   8   correct?

   9   A.              This is the application that we sent.

  10   Q.              Okay.   In this application is there any

  11   offer on behalf of Moore Products for any

  12   consideration for the net blocks?

  13   A.              Can you -- can you reask that question

  14   again, please?

  15   Q.              All right.     In your application did

  16   Moore Products offer any consideration to Network

  17   Solutions for the net block?

  18   A.              No.

  19   Q.              And you stated that in January 2000

  20   Moore Products Company merged with Siemens Energy &

  21   Automation Incorporation.          Is that correct?

  22   A.              I stated that in the year 2000 Siemens

  23   purchased Moore Products Company.

  24   Q.              Okay.   So as you sit here today you

  25   don't know whether it was January 2000?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4748 Page 154 of 224
                                                                            154


   1   A.              That's also correct.        The record of when

   2   Siemens purchased Moore Products Company is on file

   3   with the SEC.

   4   Q.              And when is the last time you reviewed

   5   those filings?

   6   A.              I have not.

   7   Q.              Have you ever reviewed those filings?

   8   A.              No.

   9   Q.              Okay.   So -- so you don't know whether

  10   the filings say that they purchased as you say all

  11   assets or they just purchased the stock of Moore

  12   Products.     Because you've not reviewed the

  13   documents, correct?

  14   A.              The -- the agreement of sale was such

  15   that anything that was Moore Products Company

  16   related or any of the assets thereof were purchased

  17   by Siemens.

  18   Q.              You mentioned an agreement of sale.            Did

  19   you draft the agreement of sale?

  20   A.              No.

  21   Q.              Did you review the agreement of sales at

  22   the time it was signed?

  23   A.              I did not, but I have been in contact

  24   with Siemens -- or excuse me, Moore Products Company

  25   executives who negotiated the agreement of sales.
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                                                                           155


   1   Q.              Okay.   And when -- when did you -- when

   2   did you -- when did you talk to the executives at

   3   Moore Company about the agreement of sale?

   4   A.              Within the last couple months.

   5   Q.              Oh, so you spoke with someone else about

   6   this case from Moore?         And who was that?

   7   A.              His name was Robert Wisniewski.

   8   Q.              How do you spell Robert's last name?

   9   A.              W-i-s-n-i-e-w-s-k-i, something like

  10   that.

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                                                                           156


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  18   BY MR. JONES:

  19   Q.              Mr. Dorn, I just have just a few more

  20   questions for you regarding the sales agreement that

  21   you were mentioning.        Just so we're clear, you

  22   didn't prepare any sales agreements between Moore

  23   Products and Siemens, correct?

  24   A.              Nope.

  25   Q.              And so any information that you have
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4751 Page 157 of 224
                                                                           157


   1   about the sales agreement comes from what someone

   2   told you about it, correct?

   3   A.              Yes, that's what -- that's what we were

   4   told when --

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  17                          So after the merger you -- you

  18   said that you kept the same title as manager of

  19   computer networks and operations for Siemens; is

  20   that correct?

  21   A.              Yes.

  22   Q.              And you left Siemens in 2006, correct?

  23   A.              Correct.

  24   Q.              Why did you leave in 2006?

  25   A.              Downsizing.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4752 Page 158 of 224
                                                                           158


   1   Q.              And when you were at Siemens, who did

   2   you report to?

   3   A.              A gentle -- down in Alpharetta, Georgia,

   4   was our corporate headquarters, a gentleman by the

   5   name of Howard Judon.

   6   Q.              Howard who?

   7   A.              Judon.

   8   Q.              Okay.    And again you don't know how many

   9   employees were in the Alpharetta headquarters

  10   office, do you?

  11   A.              The exact number?       No.

  12   Q.              Okay.    To your knowledge, between 2000

  13   and 2006 do you know if this net block was ever used

  14   by Siemens?

  15   A.              There was a project in 2000 to remove

  16   this net block that you -- class B address --

  17   Q.              Sir --

  18   A.              -- from --

  19   Q.              I'm sorry.

  20   A.              -- from the -- from the Moore Products

  21   Company network and to put Moore Products Company

  22   that was purchased onto the Siemens global network.

  23   Q.              And do you know if that was ever done?

  24   A.              Yes.

  25   Q.              Do you know if that was done properly?
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4753 Page 159 of 224
                                                                           159


   1   A.              Yes.

   2   Q.              Okay.    How do you know that?

   3   A.              There was a project that -- that

   4   corporate headquarters.         A project plan drew up and

   5   executed, and everything was successfully removed

   6   from the class B 167.87 network and put into the

   7   Siemens global network so we could communicate with

   8   Siemens through their global network and be

   9   successful as a com -- as an entity of Siemens.

  10   Q.              So -- so you're sure that that was

  11   properly done?

  12   A.              Yes.

  13   Q.              So if you were to be made aware that

  14   Siemens was contacted by the FBI in 2015 and said

  15   that there had been an improper transfer, that they

  16   never received that at that time?

  17                           MS. HEATH:    Objection:      relevance,

  18   speculation.

  19   A.              I have absolute --

  20   Q.              Are you -- are you aware of that?           Yes

  21   or no?

  22   A.              No.

  23   Q.              Okay.    Are you aware that Siemens was

  24   not even aware, Siemens headquarters, the folks in

  25   IT in Munich, were not aware that the net block
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4754 Page 160 of 224
                                                                           160


   1   existed until they were told about it by an FBI

   2   agent in October 2015?

   3                           MS. HEATH:    Objection:

   4   irrelevant, improper impeachment.

   5   A.              My -- my project plan was with the

   6   Siemens Alpharetta people, not with Siemens Germany.

   7   Q.              Okay.    And do you know if -- because

   8   Siemens Alpharetta is -- is attached to Siemens

   9   globally, right?

  10   A.              Correct.

  11   Q.              Okay.    And would it -- are you aware

  12   that the Siemens systems were checked for this net

  13   block, and they were not aware that they had that

  14   net block until they were told by an FBI agent in

  15   October 2015; are you aware of that, sir?

  16   A.              No.

  17

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  21   Q.              So you're not aware that Siemens did not

  22   even know the existence of a net block until they

  23   were told by FBI agents in 2015?

  24

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4755 Page 161 of 224
                                                                           161


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   8   A.              Siemens in Alpharetta knew about the IP

   9   address block.

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  13   Q.              And that's based on your personal

  14   knowledge, sir?

  15   A.              Yes.

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Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4756 Page 162 of 224
                                                                           162


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   2   Q.              Okay.   So you don't know -- don't know

   3   what Siemens headquarters knows, correct?

   4   A.              That's correct.

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  20   Q.              So looking at 190, did the Government

  21   show you that photograph?

  22   A.              Which photograph are we talking about?

  23   Q.              On Government Exhibit 190.

  24   A.              Are they at different numbers?          I'm

  25   sorry.
Case 3:18-cr-04683-GPC Document 351-2 Filed 03/24/22 PageID.4757 Page 163 of 224
                                                                           163


   1   Q.              If you look at --

   2   A.              Oh, okay.

   3   Q.              -- the bottom of the --

   4   A.              Oh, okay.

   5   Q.              -- page there, it said -- can you read?

   6   Does it say Government Exhibit?

   7   A.              Okay, 190.     Okay.

   8   Q.              190.    The same pictures that Ms. Heath

   9   showed you about two hours ago.

  10   A.              Okay.

  11   Q.              And I think you identified them,

  12   correct, as people that you've never met before,

  13   right?

  14   A.              Correct.

  15   Q.              So looking at Government Exhibit No. 90,

  16   have you ever spoken to this person before?

  17   A.              No.

  18   Q.              Have you ever met this person before?

  19   A.              No.

  20   Q.              Has this person ever made any

  21   representations to you to give him or someone else

  22   the net block?

  23   A.              No.

  24   Q.              Okay.    Let's look at 191.       Do you have

  25   that one in front of you?
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                                                                           164


   1   A.              Yes.

   2   Q.              And this was a photograph shown to you

   3   by Ms. Heath.         Have you ever met this person?

   4   A.              No.

   5   Q.              Have you ever spoken with this person?

   6   A.              No.

   7   Q.              Has this person ever made any

   8   representations to you to give him or someone else

   9   the IP net block that you referenced today?

  10   A.              No.

  11   Q.              All right.     Let's look at Government

  12   Exhibit No. 192.         Have you ever met this person

  13   before?

  14   A.              No.

  15   Q.              Have you ever spoken to this person

  16   before?

  17   A.              No.

  18   Q.              Has this person ever made any

  19   representations to you for you to give him or

  20   someone else the net block?

  21   A.              No.

  22   Q.              Okay.     And let's go to Government

  23   Exhibit No. 193.         Have you ever met this person

  24   before?

  25   A.              Hang on.
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                                                                           165


   1   Q.              I'm sorry.

   2   A.              No.

   3   Q.              Have you ever spoken with this person

   4   before?

   5   A.              No.

   6   Q.              Has this person ever made any

   7   representations to you for you to give him or

   8   someone else the IP net blocks as you referenced

   9   today?

  10   A.              No.

  11   Q.              Okay.   Have you ever met a person by the

  12   name of Jacob Bychak?

  13   A.              No.

  14   Q.              Have you ever spoken with a person named

  15   Jacob Bychak?

  16   A.              No.

  17   Q.              Has a person named Jacob Bychak ever

  18   made any representations to you for you to give him

  19   or someone else the IP net block?

  20   A.              No.

  21   Q.              Have you ever met Mark Manoogian?

  22   A.              No.

  23   Q.              Have you ever spoken to Mark Manoogian?

  24   A.              No.

  25   Q.              Have -- has a person named Mark
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   1   Manoogian ever made any representations to you for

   2   you to give him or someone else the net block that

   3   you referenced today?

   4   A.              No.

   5   Q.              Have you ever met a person named Abdul

   6   Qayyum?

   7   A.              No.

   8   Q.              Have you ever spoken to a person named

   9   Abdul Qayyum?

  10   A.              No.

  11   Q.              Have you ever -- has a person named

  12   Abdul Qayyum ever made any representation to you for

  13   you to give him or someone else the IP net blocks

  14   that you referenced today?

  15   A.              No.

  16   Q.              Have you ever met a person named Peter

  17   Pacas?

  18   A.              No.

  19   Q.              Have you ever spoken to a person named

  20   Peter Pacas?

  21   A.              No.

  22   Q.              Have you -- has a person named Peter

  23   Pacas ever made any representations to you for you

  24   to give him or someone else the IP net block?

  25   A.              No.
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                                                                           167


   1                          MR. JONES:       Okay.    Sir, thank you.

   2   I believe my colleagues might have a few more

   3   questions for you.         Thank you.

   4

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   7                                   * * *

   8                           CROSS EXAMINATION

   9   BY MS. MUNK:

  10   Q.              Good afternoon, Mr. Dorn.          My name is

  11   Jessica Munk, and I represent Jacob Bychak.

  12                          You are testifying here today

  13   because the Government served you with a subpoena;

  14   is that correct?

  15   A.              Correct.

  16   Q.              And you have not been served a subpoena

  17   by the defense, correct?

  18   A.              Correct.

  19                          MS. MUNK:     Okay.      I don't have any

  20   other questions.

  21                          MR. JONES:       Anybody?

  22                          MR. NEVAREZ:       No.

  23                          MR. JONES:       Okay.    Pass the

  24   witness.

  25                                   * * *
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                                                                           168


   1                         REDIRECT EXAMINATION

   2   BY MS. HEATH:

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  20   Q.              And throughout the questioning on the

  21   Defense Exhibits A, B, and C, you make statements in

  22   these emails concerning that Siemens is the owner of

  23   the asset, correct?

  24   A.              Yes.

  25   Q.              And you were asked multiple times by the
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                                                                           171


   1   defense about Siemens owning this asset, correct?

   2   A.              Correct.

   3   Q.              Why were you calling it an asset?

   4

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   6   A.              Because being assigned the IP address of

   7   167.87, a class B address, allowed Moore Products

   8   Company to expand and grow and grow globally.               And

   9   we considered it an asset, and it was an asset that

  10   we had at Moore Products Company.            So it allowed us,

  11   the company, to grow and our network to expand.

  12   Q.              And was part of your job dealing with

  13   the allocation of those IP addresses to various

  14   devices or individuals within Moore Products?

  15

  16

  17   A.              Part of --

  18

  19   A.              Part of my job responsibilities was to

  20   maintain our network for Moore Products Company and,

  21   as it grew, make sure that we were able to

  22   communicate not only within ourselves but within the

  23   network, the internet itself.

  24   Q.              And from your --

  25   A.              Go ahead.
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                                                                           172


   1   Q.              And from your observations about, as you

   2   just testified to, the growth of Moore Products,

   3   after receiving this class B network block, did

   4   receiving this network block have value to Moore

   5   Products?

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  14   A.              If we were not allowed to expand our

  15   network using this class B network, we would not

  16   have been profitable and we would not have been able

  17   to support our manufacturing organization of Moore

  18   Products Company.

  19                           MS. HEATH:      Pass the witness.

  20                                   * * *

  21                           RECROSS EXAMINATION

  22   BY MR. JONES:

  23   Q.              Sir, regarding the 167.87.00, can you

  24   turn to Government Exhibit 006?

  25   A.              Okay.
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                                                                           173


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   5                   Government Exhibit 197 that counsel

   6   spoke about.      It's the letter from Network

   7   Solutions?

   8   A.              Yes.

   9   Q.              Show -- sir, can you show me on the

  10   letter where it says that this net block contains

  11   65,000 IP addresses?

  12   A.              In technical understanding of a --

  13   Q.              I'm not asking you for your technical

  14   understanding, sir.        I'm asking you --

  15

  16

  17   Q.              I'm asking you --

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  19

  20   Q.              I'm asking you to look at this letter,

  21   Government Exhibit 197 dated May 17, 1993, and tell

  22   me where on this letter that is stated -- is sitting

  23   before you does it say that this net block

  24   167.87.0.0 includes 65,000 IP addresses.

  25   A.              Knowing what a class B address is --
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                                                                           174


   1   Q.              That's not the question, sir.

   2   A.              I wish the --

   3                          MS. HEATH:       Objection.     Would you

   4   allow --

   5                          MR. JONES:       I'm sorry.

   6                          MS. HEATH:       -- allow the witness

   7   to answer the question?

   8                          MR. JONES:       No.     Again, I'm going

   9   to object to this witness being evasive and not

  10   answering the questions.         I am, therefore, going to

  11   leave this deposition open at the conclusion to

  12   reserve my right to seek guidance from the Court on

  13   these responsive -- responses by this witness.

  14   BY MR. JONES:

  15   Q.              Again, sir, for the third time I'm going

  16   to ask you:      On this exhibit, Government No. 197,

  17   where does it say that this net block 167.87.0.0

  18   contains 65,000 IP addresses?            Are the words and

  19   numbers "65,000 IP addresses" anyone -- anywhere on

  20   this document?

  21   A.              No.

  22                          MR. JONES:       Okay.     Pass the

  23   witness.

  24                                   * * *

  25                         REDIRECT EXAMINATION
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                                                                           175


   1   BY MS. HEATH:

   2   Q.              And for final recross on that very

   3   question, what does class B net number mean?

   4

   5

   6

   7   A.              A class B network number allows you to

   8   have 255 class C networks, which are 255 addresses

   9   each.    So in doing the calculation and understanding

  10   in network terms what this means, that's 255 times

  11   255 network addresses.

  12   Q.              In fact just as you said, in the letter

  13   in the paragraph that starts "It is suggested," it

  14   talks about the 255 IP addresses in class C

  15   networks, correct?

  16   A.              Correct.

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  21                          MS. HEATH:     Pass the witness.

  22                          MR. JONES:     We're done with this

  23   witness.

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                                                                           177


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   5                          MR. JONES:     But I do -- but I do

   6   want to leave the record open regarding the answers

   7   and objections that were raised this morning during

   8   this deposition, to reserve my right to seek

   9   guidance from the judge on those evasive and

  10   nonresponsive answers.

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                                                                           178


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   4                                   __________________, 2021

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   7                          I hereby certify that the evidence

   8   and proceedings are contained fully and accurately

   9   in the notes taken by me of the testimony of the

  10   within witness who was duly sworn by me and that

  11   this is a correct transcript of the same.

  12

  13

  14

  15                             ________________________________
                                 Steven R. Mack
  16                             Registered Merit Reporter
                                 Certified Realtime Reporter
  17                             Notary Public

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